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     1                        UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
     2                              SOUTHERN DIVISION
                                        _ _ _
     3
          UNITED STATES OF AMERICA,
     4
                         Plaintiff,
     5
             vs.                                      Case No. 17-20595
     6
          YOUSEF M. RAMADAN,                          Hon. Marianne O. Battani
     7
                      Defendant.
     8    _______________________________/
     9                              EVIDENTIARY HEARING
   10                  BEFORE THE HONORABLE MARIANNE O. BATTANI
                             United States District Judge
   11                   Theodore Levin United States Courthouse
                             231 West Lafayette Boulevard
   12                              Detroit, Michigan
                                Thursday, May 24, 2018
   13
          APPEARANCES:
   14
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                                    COLLEEN P. FITZHARRIS
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   21
   22     Also Present:             Tania Ghanem, Court Interpreter
   23
   24
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   25                Robert L. Smith, Official Court Reporter
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     1     Detroit, Michigan
     2     Thursday, May 24, 2018
     3     at about 10:28 a.m.
     4                                     _    _     _
     5               (Court, Counsel and Defendant present.)
     6               THE LAW CLERK: Please rise.
     7               The United States District Court for the Eastern
     8    District of Michigan is now in session, the Honorable
     9    Marianne O. Battani presiding.
   10                You may be seated.
   11                THE COURT: Good morning.
   12                MR. DENSEMO: Good morning.
   13                MS. FITZHARRIS: Good morning, Your Honor.
   14                MR. WATERSTREET: Good morning, Your Honor.
   15                THE CASE MANAGER: Calling Case No. 17-20595,
   16     United States vs. Ramadan.
   17                THE COURT: We are continuing our hearing. You may
   18     be seated.
   19                Mr. Ramadan, you may take the stand.
   20                MR. DENSEMO: Your Honor, would the Court mind if
   21     Mr. Ramadan's hands are unshackled?
   22                THE COURT: Yes, the cufflinks may come off.
   23                MR. DENSEMO: We appreciate it, Judge.
   24                MS. FITZHARRIS: Good morning, Your Honor.
   25     Colleen Fitzharris for Mr. Ramadan.


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     1                Before we begin, I would like an update from the
     2    government on where they are on the production of
     3    Officer Brown's e-mails that were ordered produced yesterday.
     4                MR. WATERSTREET: Your Honor, we reviewed it. We
     5    have not come across anything that pertains to this time
     6    period, so I will continue -- continue to look. I don't know
     7    what else I can say.
     8                THE COURT: Where do you look? Do you have his
     9    computer or do you --
   10                 MR. WATERSTREET: I asked for him to provide all of
   11     his e-mails to me. I have gone through all of those e-mails
   12     on more than one occasion. I provided all of those to
   13     defense counsel, any one that pertains to the time period in
   14     question.
   15                 MS. FITZHARRIS: The time period in question means
   16     an interview or interrogation of Mr. Ramadan on August 15th
   17     and 16th. It does not matter if they were written before or
   18     after or during the interrogation, it matters if they were
   19     about that topic.
   20                 MR. WATERSTREET: I understand that, Your Honor.
   21                 THE COURT: And you found nothing that you haven't
   22     already turned over?
   23                 MR. WATERSTREET: I have not found anything I have
   24     not already turned over. I will look -- continue to look.
   25     Maybe there will be some file somewhere that I misplaced or


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     1    something, but I have not come across a single thing that I
     2    have not handed over.
     3               THE COURT: Okay.
     4               MS. FITZHARRIS: Again, defense counsel has not
     5    received any e-mails whatsoever written by Officer Brown
     6    pertaining to the interrogation of Yousef Ramadan.
     7               THE COURT: Okay. Look, because he said he wrote
     8    e-mails so --
     9               MS. FITZHARRIS: Right.
   10                THE COURT: -- there must be something. It sounds
   11     like they were maybe just even transferring photos or
   12     something, but look again.
   13                MR. WATERSTREET: Okay. Thank you.
   14                THE COURT: All right.
   15                MS. FITZHARRIS: All right. We call
   16     Yousef Ramadan.
   17                THE COURT: You are still under oath, sir, from
   18     yesterday.
   19                MR. DENSEMO: Your Honor, I placed a chair for the
   20     interpreter by Mr. Ramadan so that she can sit down.
   21                THE COURT: All right. That's fine.
   22                MS. FITZHARRIS: Your Honor, I'm going to -- just
   23     for the marshals, I'm going to return what has been marked as
   24     Defense Exhibits E and F. These are the -- E is the drawing
   25     of the interrogation area that Mr. Ramadan drew yesterday,


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     1    and F is Government's Exhibit X, which Mr. Ramadan wrote on
     2    yesterday. I'm just going to hand that to him and a pen so
     3    that if he needs to write in the future.
     4               THE COURT: All right.
     5               UNIDENTIFIED MARSHAL: No, he can't have the pen.
     6               MS. FITZHARRIS: Your Honor, may he --
     7               UNIDENTIFIED MARSHAL: He cannot have this.
     8               MS. FITZHARRIS: What kind of pen may he have?
     9               UNIDENTIFIED MARSHAL: There is a pen in lockup
   10     that we use.
   11                THE COURT: What?
   12                UNIDENTIFIED MARSHAL: I can call down and probably
   13     possibly have someone bring one up, but he can't have that
   14     one.
   15                MS. FITZHARRIS: He used this one yesterday.
   16                UNIDENTIFIED MARSHAL: He's not allowed to. I
   17     don't know who allowed him to do it but he's not allowed to
   18     use that pen.
   19                THE COURT: Let's go on, and when he -- he can
   20     point to whatever and you can write it in.
   21                MS. FITZHARRIS: Okay. That works.
   22                THE COURT: Is it a felt pen that you are talking
   23     about?
   24                UNIDENTIFIED MARSHAL: It is a special rubber --
   25                THE COURT: Okay. We will do it with counsel.


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     1                MS. FITZHARRIS: All right. Thank you, Your Honor.
     2                THE COURT: It will take us a little bit but --
     3                                YOUSEF RAMADAN,
     4    having been previously sworn, was examined and testified on
     5    his oath as follows:
     6                       DIRECT EXAMINATION (Continued)
     7    BY MS. FITZHARRIS:
     8    Q.   Good morning, Mr. Ramadan.
     9                MR. RAMADAN: (In English) Good morning.
   10     BY MS. FITZHARRIS:
   11     Q.   Yesterday we were talking but when we ended we were
   12     talking about when you were interrogated first --
   13                 MR. RAMADAN: (In English) Yes.
   14     BY MS. FITZHARRIS:
   15     Q.   -- by two CBP officers. Do you remember that?
   16                 MR. RAMADAN: (In English) Yes.
   17     A.   Yes.
   18     BY MS. FITZHARRIS:
   19     Q.   Okay. Based on the way you were talking yesterday it
   20     seemed to me that you were having trouble with the names of
   21     the officers; is that correct?
   22     A.   Yes.
   23     Q.   Okay. So for clarity in the record, when I refer to the
   24     tall officer I am talking about Officer Armentrout. Okay.
   25     A.   Okay.


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     1    Q.   And when I talk about the short officer I'm talking
     2    about Officer Schmeltz.
     3    A.   Okay.
     4    Q.   So with that in mind, who was the officer who told
     5    you -- said something about Guantanamo?
     6    A.   The short one.
     7    Q.   Who was the officer who asked you about your feelings
     8    about Jews?
     9    A.   The tall.
   10     Q.   Who was the officer who asked you about whether you plan
   11     to go to Syria?
   12                 MR. RAMADAN: (In English) The short, the FBI.
   13     A.   The short, the FBI.
   14                 MR. RAMADAN: (In English) The short and the FBI.
   15     A.   The short one and the FBI.
   16     BY MS. FITZHARRIS:
   17     Q.   And when you say the FBI agent, you are talking about
   18     Agent Thomas?
   19     A.   Yes.
   20     Q.   Who's the officer who put handcuffs on you in the first
   21     interrogation room?
   22     A.   The short.
   23     Q.   All right. When we left off yesterday we were talking a
   24     little bit about the conversations about pass codes, okay, so
   25     I'm going to pick up there.


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     1               How long had you been talking to the officers
     2    before they asked you for pass codes to your cellphones?
     3    A.   Like around 40 minutes.
     4    Q.   And when you refused to give them your pass code, what
     5    did the officers do?
     6    A.   First, he got upset, he didn't like it. He told me what
     7    did you hide in the phone that you don't want us to see.
     8    Q.   Who is the person who said that?
     9    A.   The short.
   10     Q.   Okay. And how did you respond when he asked you what
   11     you were trying to hide?
   12     A.   I told him I have nothing to hide in my phone. But I
   13     have pictures of my wife and my sisters, and I have the
   14     picture of my Social Security cards and ID, and my kids
   15     playing.
   16     Q.   Did they tell -- did any -- either one of the officers
   17     ask you -- tell you that you had to provide your pass codes?
   18     A.   All of them, but mostly the short and the tall guy and
   19     the short one too.
   20     Q.   After they told you that you had to provide your pass
   21     codes, how did you respond?
   22     A.   I did like that. I don't want to.
   23     Q.   And when you say like that, you made a facial
   24     expression?
   25     A.   He stood up and asked me to turn around, and he put the


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     1     handcuffs.
     2     Q.   At any point did you ask either officer for legal
     3     protection before providing pass codes?
     4     A.   Not only for the pass code but to any -- anything that
     5     is electronic.
     6     Q.   So what did you ask for, what legal protection?
     7     A.   I told him to give me like a guarantee that -- like a
     8     paper -- immunity that, you know, I will be protected and you
     9     will not press charges against me or do anything, and then I
    10     will open it for you.
    11     Q.   Why did you ask for that?
    12     A.   Because I have a previous experience in San Diego, and
    13     when I gave them the security -- the pass code at the
    14     security, they did pass -- they did erase -- erase it. So
    15     they told us -- they told me -- I'm sorry. They told me
    16     trust us, and if you give it to us we will erase any cameras
    17     because -- and we are not going to --
    18     Q.   Hold on, Mr. Ramadan, let me back up. Okay.
    19                 You said that you had a previous experience with
    20     law enforcement officers where they asked for your pass
    21     codes?
    22     A.   Yes.
    23     Q.   When was that?
    24                 MR. RAMADAN: (In English) In San Diego.
    25     A.   In San Diego.


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     1     BY MS. FITZHARRIS:
     2     Q.   What year?
     3                 MR. RAMADAN: (In English) I would say I think
     4     2015.
     5     A.   I would say I think in 2015.
     6     BY MS. FITZHARRIS:
     7     Q.   And they asked you to provide pass codes to your
     8     computers then?
     9     A.   The security camera and the phone.
    10     Q.   So just to clarify, they asked you to provide the pass
    11     codes for the security camera and for your phone?
    12     A.   Yes.
    13     Q.   And in 2015, after you gave them those pass codes, what
    14     did the officers do?
    15     A.   They told me, trust me -- trust us, and give us the pass
    16     code. I said no, I don't want to. He did threaten me
    17     because I had an a misdemeanor case, and I did sign a waiver
    18     for my rights, I think Fourth or Fifth Amendment.
    19     Q.   Okay. So just to clarify again, they told you that you
    20     had a misdemeanor conviction, and what did they say about
    21     waiver of rights?
    22     A.   So I was on probation for three years. I did sign a
    23     waiver regarding my rights, so they can come to my house and
    24     search my house without any permission or warrants, so I
    25     don't want that.


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     1     Q.   So after they told you that you had waived these rights,
     2     what did you do?
     3     A.   He did threaten me, and he told me that he would take
     4     the devices with him.
     5     Q.   And after he threatened you and said that he would take
     6     the devices with him, what did you do?
     7     A.   After he forced me I gave him the pass code.
     8     Q.   And what did the officer do with the pass code?
     9     A.   So he would start looking at my pictures on the phone,
    10     and he erased the hard drives of the camera because on the
    11     hard drive they were they came to my house, there is a video
    12     that when they came, and they wanted to make sure -- they
    13     thought that I have a felony when I went to buy the gun.
    14     Q.   Mr. Ramadan, so what did the officers do after you gave
    15     them the pass code?
    16                MR. RAMADAN: (In English) They erased.
    17     A.   Erased.
    18     BY MS. FITZHARRIS:
    19     Q.   Okay. When you were in the first interrogation room on
    20     August 15th and you asked for legal protection, were you
    21     thinking about that incident?
    22     A.   That's the main reason, that's why I didn't trust them.
    23     Q.   So when --
    24     A.   One of the main reasons.
    25     Q.   When you said that you wanted immunity, how did the CBP


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     1     officers respond?
     2     A.   He starting to laugh, and he told me that I watch lots
     3     of movies.
     4     Q.   Who said that?
     5                MR. RAMADAN: (In English) The short.
     6     A.   The short.
     7     BY MS. FITZHARRIS:
     8     Q.   And was that the end of the conversation about your pass
     9     codes?
    10     A.   No.
    11     Q.   What happened next?
    12     A.   He threatened me if I don't speak up he's going to take
    13     a different -- he's going to do something else against me.
    14     Q.   Who said that?
    15                MR. RAMADAN: (In English) The short.
    16     A.   The short, after he put the handcuffs.
    17     BY MS. FITZHARRIS:
    18     Q.   So when he said this you were wearing handcuffs?
    19     A.   Can you repeat the question?
    20     Q.   When he said -- when he threatened -- he responded and
    21     said that you were -- you watch too many movies and you have
    22     to answer, were you wearing handcuffs?
    23     A.   No, not yet.
    24     Q.   Not yet. So after -- after he said that, what happened
    25     next?


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     1     A.   I told him that I don't want to. He did not like it.
     2     And I gave him that face and then stood up, and he put the
     3     handcuffs on me.
     4     Q.   Okay.
     5     A.   And then he get out of the room.
     6     Q.   And who left the room?
     7     A.   The short.
     8     Q.   So at this point were you the only person in the room?
     9                 MR. RAMADAN: (In English) The tall agent stayed
    10     there.
    11     A.   The tall guy --
    12                 MR. RAMADAN: (In English) Agent.
    13     A.   Agent was there.
    14     BY MS. FITZHARRIS:
    15     Q.   How long were you alone with just the tall guy?
    16     A.   For a short period of time, like 20 minutes, around
    17     20 minutes.
    18     Q.   And when you were alone with the tall officer, was he
    19     asking you questions?
    20     A.   Yes.
    21     Q.   What sorts of questions did he ask you?
    22     A.   He is trying to play the role of good cop/bad cop.
    23     Q.   And when you say that what do you mean?
    24     A.   He told me that I don't blame you for what happened to
    25     you, and he starts asking me if I like Jews or not.


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     1     Q.     At some point did the short officer return to the first
     2     interrogation room?
     3     A.     Yes.
     4     Q.     And what happened when he returned?
     5     A.     He start asking me questions about the -- that was on
     6     the hard drive.
     7     Q.     What questions did he ask you about the contents of the
     8     hard drive?
     9     A.     Lots of pictures about armies and war.
    10     Q.     And what did he ask you about the pictures of armies and
    11     war?
    12     A.     Mostly he asked like why do you look at those kinds, and
    13     he insisted on ISIS.
    14     Q.     How did you -- what did you say when asked about the
    15     photos of -- ISIS photos?
    16     A.     I told him that I take a look at all kind of videos, not
    17     only ISIS, just to see what's going on around me and in the
    18     world. But he kept on insisting on ISIS even though there
    19     were like other pictures about war and other armies.
    20     Q.     Who was insisting on talking about ISIS?
    21                   MR. RAMADAN: (In English) The short.
    22     A.     The short.
    23     BY MS. FITZHARRIS:
    24     Q.     How long were -- when they were asking -- when the short
    25     officer was asking you questions about ISIS, were you in


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     1     handcuffs?
     2     A.     As far as I remember, maybe no.
     3                 THE INTERPRETER: The interpreter, Your Honor, is
     4     going to clarify on one word.
     5                 THE COURT: Can you clarify?
     6                 MR. RAMADAN: (In English) He took off.
     7     A.     Because the tall guy he took off the handcuffs on me
     8     meanwhile.
     9                 MR. WATERSTREET: I believe the record should
    10     reflect that the defendant said he took off the handcuffs,
    11     and then said something else.
    12                 THE INTERPRETER: I said took off.
    13                 MR. WATERSTREET: Okay. I thought you said remove.
    14                 THE INTERPRETER: I did repeat in English what this
    15     man said.
    16                 MR. WATERSTREET: Okay. Thank you.
    17     BY MS. FITZHARRIS:
    18     Q.     So when -- when were the -- so after the short officer
    19     returned to the room, at what point were the handcuffs taken
    20     off?
    21     A.     Before he came in.
    22     Q.     Okay. And who decided whether to take the handcuffs
    23     off?
    24     A.     The tall guy.
    25     Q.     Did either officer ask you about any other photos or


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     1     videos on the hard drives?
     2     A.   Yes.
     3     Q.   What photos did they ask you about in the first
     4     interrogation room?
     5     A.   Pictures of weapons.
     6     Q.   What did they ask you about the photos of weapons?
     7     A.   Pictures off of the internet, if I own it or not.
     8     Q.   How did the first interrogation end?
     9     A.   Every time they kept on asking about the password.
    10     Q.   And how many times did they ask you to give them the
    11     pass code?
    12     A.   A lot.
    13     Q.   During that first interrogation in that room with
    14     Officers Armentrout and Schmeltz, how many times did you ask
    15     for a lawyer?
    16                 THE INTERPRETER: The interpreter didn't hear. Did
    17     you ask about what?
    18     BY MS. FITZHARRIS:
    19     Q.   How many times did you ask for a lawyer?
    20     A.   At least four times.
    21     Q.   When you are in the room, did you notice any cameras?
    22     A.   Yes, it was toward the right side.
    23     Q.   When you noticed the cameras, did you ask that the --
    24     that the questioning be recorded?
    25     A.   Yes, I did ask this question since the beginning of the


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     1     interrogation.
     2     Q.   When you asked for a lawyer, how did the two CBP
     3     officers respond?
     4     A.   He told me that I do not have any rights, and a lawyer
     5     cannot come over here. If he's going to come over here we
     6     have to have a pass, a Clear pass. He told me that you are
     7     in international board, and he told me that I do not have any
     8     rights.
     9     Q.   When you asked that the conversation be recorded, what
    10     did the officers say?
    11     A.   He told me that it is recorded.
    12     Q.   When that first interrogation ended, where did the tall
    13     officer go?
    14     A.   Both of them they were, like, in and out, but always I
    15     had someone with me. They were, like, you know, in and out,
    16     rotating.
    17     Q.   When the first interrogation ended, where did you go, if
    18     anywhere?
    19     A.   I stayed in the room, and one time they gave me a
    20     coloring book when the FBI agent came in so I can like color
    21     with the kids.
    22     Q.   When you -- so when you were coloring with the kids,
    23     where were you?
    24     A.   Seated area in the lobby.
    25     Q.   Okay. Was your wife with you when you were there with


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     1     the kids?
     2     A.    No.
     3     Q.    Where did your wife go?
     4     A.    I think she was talking to the FBI agent.
     5     Q.    When you were in the waiting area coloring with your
     6     kids, how did your kids seem to you?
     7     A.    They were, like, scared a lot, and I tried to calm them
     8     down but they from feeling, like, something wrong is going
     9     on.
    10     Q.    How did you know that they were scared?
    11     A.    They were crying, and when I came out and bringing the
    12     coloring books this is when they start crying. And then I
    13     try to calm them down, and I told them don't be scared, just
    14     shortly and we will all go together home. They just wanted
    15     to talk to me. So I felt, like, their face, they changed,
    16     it's not like the usual.
    17     Q.    How long were you in the waiting room with your kids
    18     with the coloring books?
    19     A.    Like around 20 minutes.
    20     Q.    And what changed after 20 minutes, what happened?
    21     A.    They called me back and my wife came in.
    22     Q.    Who called you back?
    23                 MR. RAMADAN: (In English) The short.
    24     A.    The short.
    25     BY MS. FITZHARRIS:


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     1     Q.   And where did he direct you to go?
     2     A.   He took me back to the same interrogation room.
     3     Q.   And when you were in that first interrogation room, who
     4     else was with you?
     5     A.   The tall officer.
     6                MR. RAMADAN: (In English) Agent.
     7     A.   Agent.
     8     BY MS. FITZHARRIS:
     9     Q.   And when you were in the interrogation room with the
    10     tall agent -- officer, did he ask you any questions?
    11     A.   He came back to the same questions regarding the
    12     pictures and terrorism and the password, and he told me that
    13     I am hiding something big on my phone. I told him that I am
    14     not going to give it to you, and I don't want to talk to you.
    15     He told me that all the government going to come and talk to
    16     you --
    17                MR. RAMADAN: (In English) And basically you -- can
    18     I say that?       It is a bad word?
    19     BY MS. FITZHARRIS:
    20     Q.   Go ahead.
    21                MR. RAMADAN: (In English) Basically you are
    22     fucked. Sorry.
    23     BY MS. FITZHARRIS:
    24     Q.   When you said that you didn't want to talk, what
    25     happened next?


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     1     A.   He asked me to stand up, put the handcuffs -- he told me
     2     to turn around, and put the handcuffs on me, and he was,
     3     like, really upset, and it was really tight.
     4     Q.   Who put the handcuffs on you this time?
     5     A.   The same guy, the short.
     6     Q.   Okay. And after he put handcuffs on you, what happened
     7     next?
     8     A.   The same thing, he got out and he went to that command
     9     room I think so, so he can take a look at the photos on the
    10     hard drive.
    11     Q.   Did the short officer ever come back?
    12     A.   Yes.
    13     Q.   So when he left, were you in handcuffs?
    14                 THE INTERPRETER: The interpreter is going to
    15     clarify. Did you say when you left or --
    16     BY MS. FITZHARRIS:
    17     Q.   When the short officer left the room, were you in
    18     handcuffs?
    19     A.   Yes.
    20     Q.   And when he returned to the room -- when the short
    21     officer returned to the room, were you in handcuffs?
    22     A.   Yes, but when he left the tall officer told me it's
    23     better for you to talk because we want to help you, give us
    24     the password, like, it is not, like, worser to happen -- for
    25     that to happen to you. I told him that I do not want to give


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     1     it to you.
     2     Q.   All right. On August 15th and 16 were you only in that
     3     first interrogation room?
     4     A.   This one and another room.
     5     Q.   When were you taken to the other room?
     6     A.   Altogether there were like three rooms including the
     7     lobby it would be four.
     8     Q.   Okay. So when you -- at one point did you go to the
     9     conference room?
    10     A.   Yes.
    11     Q.   What happened right before you went to the conference
    12     room?
    13     A.   After he threatened me that the government will be here,
    14     the FBI agent came over with -- with three other
    15     investigators.
    16     Q.   And where was the FBI officer and the three other
    17     investigators?
    18     A.   I was still in the interrogation room, so he called my
    19     wife to talk to her, and they left the kids alone.
    20     Q.   How long was the FBI officer talking to your wife?
    21     A.   Like around a half hour.
    22     Q.   When he finished talking to your wife after 30 minutes,
    23     what happened next?
    24     A.   I stayed a little bit in the interrogation room, and I
    25     told him that I need to talk to my wife, I need to see what


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     1     you are talking to her about.
     2     Q.     When you asked him to talk to your wife, what did --
     3     what was the response?
     4     A.     He told me when we finish the investigation --
     5                   MR. RAMADAN: (In English) Interrogation.
     6     A.     Interrogation.
     7     BY MS. FITZHARRIS:
     8     Q.     Who told you that?
     9                   MR. RAMADAN: (In English) The tall.
    10     A.     The tall guy.
    11     BY MS. FITZHARRIS:
    12     Q.     Okay. How did you get into the conference room?
    13     A.     After my wife left like 15 minutes after.
    14     Q.     And who brought you into the conference room?
    15     A.     The short.
    16     Q.     And when Officer Schmeltz brought you into the
    17     conference room, were you in handcuffs?
    18     A.     Yes.
    19     Q.     Was there anyone else in the conference room when you
    20     arrived?
    21     A.     With me it will be six -- like five and me it will be
    22     six.
    23     Q.     But when you entered, how many people were in the room?
    24     A.     Four.
    25     Q.     Who was in the room?


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     1                MR. RAMADAN: (In English) The tall agent.
     2     A.   The tall agent.
     3                MR. RAMADAN: (In English) The FBI.
     4     A.   The FBI.
     5                MR. RAMADAN: (In English) And James Brown.
     6     A.   And James Brown.
     7                MR. RAMADAN: (In English) The guy with the beard
     8     came in.
     9     A.   And the guy with the beard, Kelley.
    10     BY MS. FITZHARRIS:
    11     Q.   So when you say the guy with the beard -- the agent with
    12     the beard, you are talking about Special Agent Kelley?
    13                MR. RAMADAN: (In English) Kelley, yep.
    14     BY MS. FITZHARRIS:
    15     Q.   When you entered the room, when were the handcuffs
    16     removed, if at all?
    17     A.   They did not take them off.
    18     Q.   So they did not take them off at any time when you were
    19     in the conference room?
    20     A.   No.
    21                MS. FITZHARRIS: All right. At this point, Your
    22     Honor, I'm going to ask to draw on the thing.
    23     BY MS. FITZHARRIS:
    24     Q.   What furniture was in the conference room?
    25     A.   A round table.


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     1     Q.   I'm going draw a round table.
     2     A.   Uh-huh.
     3     Q.   Okay. How many -- were there any chairs in the room?
     4     A.   Yes.
     5     Q.   How many chairs?
     6     A.   I think more than six.
     7     Q.   Okay. When you were in the room, can you point to me
     8     where you were sitting?
     9                 MR. RAMADAN: (In English) X right here.
    10     BY MS. FITZHARRIS:
    11     Q.   I am marking where Mr. Ramadan was sitting with an R.
    12                 Where was the FBI Agent Thomas sitting?
    13     A.   Across from me.
    14     Q.   I'm marking where Agent Thomas was sitting with a T.
    15                 Where was HSI Agent Kelley, the man with the beard,
    16     sitting?
    17     A.   Next to Tom, the FBI.
    18     Q.   I'm going to mark that with a K.
    19                 Where was the short officer, Officer Schmeltz?
    20     A.   He was behind me.
    21     Q.   So I'm going mark that with an S.
    22                 Was there anyone else in the room?
    23                 MR. RAMADAN: (In English) The tall agent.
    24     A.   The tall agent.
    25


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     1     BY MS. FITZHARRIS:
     2     Q.   That's Officer Armentrout?
     3     A.   Officer Armentrout.
     4     Q.   And where was he?
     5     A.   He was sitting here on a chair, and he had the yellow
     6     notes.
     7     Q.   Okay. I'm going to mark where Officer Armentrout was
     8     sitting with an A.
     9     A.   There is one more I forgot.
    10                 MR. RAMADAN: (In English) James Brown.
    11     A.   James Brown.
    12     BY MS. FITZHARRIS:
    13     Q.   Okay. Sorry. Where was CBP officer James Brown?
    14     A.   He wasn't sitting.
    15     Q.   Okay. But --
    16                 MR. RAMADAN: (In English) He was standing here.
    17     A.   He was standing here.
    18     BY MS. FITZHARRIS:
    19     Q.   I'm going to mark for where Officer Brown was standing
    20     with a B.
    21                 When you entered the conference room, did the
    22     officers identify themselves?
    23     A.   No, I asked.
    24     Q.   And who responded?
    25     A.   I talked to the FBI agent.


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     1     Q.   And what did he say?
     2     A.   He told me do you -- do you have to know? The whole
     3     government is going to talk to you. I told him yes, I would
     4     like to know who am I talking to.
     5     Q.   And when you said that, what did Agent Thomas say?
     6     A.   He didn't reduce [sic] himself, and he told me that I am
     7     from the FBI.
     8     Q.   Did he provide you with any identification?
     9     A.   I asked him for the card.
    10     Q.   And did he give it to you?
    11     A.   I would like -- I told him that I want to know who am I
    12     talking with because maybe you are not from the FBI.
    13     Q.   When you asked for a card from Agent Thomas, did he give
    14     one to you?
    15     A.   Yes, and I still have it until now.
    16     Q.   When you entered -- what were the first questions asked
    17     when you were in the conference room?
    18     A.   First, they asked like routine questions, my name, and
    19     they asked me about the plate.
    20     Q.   When they -- about how many questions did they ask you
    21     about the plates?
    22     A.   One only.
    23     Q.   What was the question they asked you about the body
    24     armor plates?
    25     A.   Why do you need it?


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     1     Q.   What did you say?
     2     A.   For my safety because I want to work as a photographer
     3     when they do like a strike between -- sorry, demonstration
     4     between the Israeli solders and the Palestinian, the whole
     5     conflict.
     6     Q.   And -- sorry, I'm just going to back up a quick second,
     7     Mr. Ramadan.
     8                 Were you aware that these officers had weapons with
     9     them?
    10     A.   Yes.
    11     Q.   Did this conference room have any windows?
    12                 THE INTERPRETER: The interpreter didn't hear. Did
    13     you say windows?
    14     BY MS. FITZHARRIS:
    15     Q.   Did this conference room have any windows?
    16     A.   No.
    17     Q.   Was the door open?
    18     A.   No, they closed it.
    19     Q.   Did you notice any cameras in the conference room?
    20     A.   No, but I requested for it to be recorded for my own
    21     safety.
    22     Q.   When you asked for the interrogation to be recorded,
    23     what was the response?
    24     A.   So they said we just going to ask you a few questions,
    25     don't be scared.


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     1     Q.   Who said that?
     2     A.   The FBI agent.
     3     Q.   Going back, so after you told the FBI agent that you
     4     wanted to be a photo journalist and cover the conflict, what
     5     questions were asked next?
     6     A.   He asked me why did I buy the tickets on the same day.
     7     Q.   What did you say?
     8     A.   I told him that my wife bought the tickets three months
     9     ago and she did not confirm the e-mail that they sent us, so
    10     we had an issue with the reservation, and at the end I end up
    11     buying new tickets. The FBI agent asked me why did I buy it
    12     cash. I told him that I bought it with Visa. He told me why
    13     did I buy it only one way. I told him because I want to go
    14     help my dad and cover those conflicts.
    15     Q.   Okay. When you were answering these questions, did you
    16     feel that you had to answer them?
    17     A.   Until then, yes, it is normal questions.
    18     Q.   After you were asked about your travel plans, what were
    19     the next questions asked?
    20     A.   They asked me about my dad and how much property he has
    21     and why am I going to go and help him. I told them because
    22     he's old and he's sick I want to go and help him and he will
    23     always tell me come back, come back.
    24                MR. RAMADAN: (In English) And this is one of the
    25     reason now obviously he's died.


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     1     A.   And now he passed away, he died. That's one of the
     2     reasons why he died because he's always thinking about me and
     3     I'm, like, in prison.
     4     BY MS. FITZHARRIS:
     5     Q.   When did he die?
     6                MR. RAMADAN: (In English) April 20th.
     7     A.   April 20th.
     8     BY MS. FITZHARRIS:
     9     Q.   Of this year?
    10     A.   Yes. Not only him, only -- also my uncle, my wife's
    11     grandpa, and her uncle, and my mom's brother.
    12     Q.   I'm very sorry, Mr. Ramadan.
    13     A.   Within like, you know, less than six months.
    14     Q.   Okay. I'm very, very sorry. Okay.
    15                Let's -- I'm going to direct your attention now
    16     back to August 15th and 16th. Okay. When -- so after they
    17     were asking you about the length of your trip, what were the
    18     next questions?
    19     A.   They told me why am I going to go to Jordan. Why you
    20     didn't make a reservation directly to Palestine.
    21     Q.   And what did you say?
    22     A.   I told them because I have a Palestinian identity, so I
    23     cannot go to Israel -- to -- Israeli airport even though I
    24     have the American passport but I still have the Palestinian
    25     identity, so I have to make a reservation to Jordan and cross


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     1     by car, that's the only country that will accept us because
     2     I'm Palestinian.
     3     Q.   When they were asking you about your travel plans, did
     4     you feel that you needed a lawyer?
     5     A.   No.
     6     Q.   So after they finished asking you about your travel
     7     plans, what did they ask you about next?
     8     A.   He told me you're lying now.
     9     Q.   What did he say that you were lying about?
    10     A.   That I made the reservation to Jordan for me to go to
    11     Syria or Iraq because it's like next door, and also Palestine
    12     is next door, and always when I make a reservation I go to
    13     Jordan.
    14     Q.   When he said that you were lying about your travel
    15     plans, how did that make you feel?
    16     A.   I felt like no matter what I'm going -- no matter what
    17     I'm going to say they're not going believe me. So I -- I
    18     felt like they're asking me those questions about terrorism,
    19     they're trying to accuse me with this -- with the terrorism
    20     case.
    21     Q.   When you felt like you were being accused of terrorism,
    22     how did you respond?
    23     A.   When he asked me I said I want a lawyer, I'm not going
    24     say anything. I told him that if you're going to talk to me
    25     regarding this subject I want an interpreter and I want a


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     1     lawyer.
     2     Q.   What was the response when you asked for an interpreter
     3     and a lawyer?
     4     A.   He told me that people like you --
     5                 THE INTERPRETER: Can the interpreter ask him to
     6     repeat, please.
     7     A.   He told me that you will never have a lawyer here, and
     8     people like you if you're not going to talk you're going to
     9     be going to Guantanamo.
    10     BY MS. FITZHARRIS:
    11     Q.   Guantanamo. Who said that?
    12     A.   The FBI agent.
    13     Q.   So after he told you that you were lying, did he ask you
    14     any more questions?
    15     A.   Yes.
    16     Q.   What did he ask you about?
    17     A.   After he asked me and forced me and scared me, he told
    18     me why you don't trust your wife. He asked me why I don't
    19     have friends.
    20     Q.   And why did he ask you those questions -- or what -- did
    21     he explain why he asked you those questions?
    22     A.   I think -- I think he was, like, asking questions to my
    23     wife. My wife told him that he doesn't have friends, he's a
    24     family guy.
    25     Q.   Mr. Ramadan, I want to ask you about things that you saw


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     1     and heard. Okay. So, you know -- okay. So when Mr. -- when
     2     Agent Thomas asked you about --
     3     A.   He asked me the same questions.
     4     Q.   Okay. And what questions did he ask you about friends?
     5     A.   If I have -- if I have friends. Where do I go? So I go
     6     to my family's houses. And he told me do you trust your
     7     wife? I told him not only my wife, I don't trust anyone.
     8     Q.   What did he say when you said that you don't trust
     9     anyone, Agent Thomas, what did he say?
    10     A.   He had a paper, so he had a paper and every time he
    11     would ask a question, like, you don't have friends he would
    12     make like a mark. You don't trust anyone, he was like
    13     writing things. And he asked me if I have paranoia, and he
    14     made like a circle around it, and he told me you're a lone
    15     wolf -- a lone wolf, and he made a circle around it -- more
    16     than one circle around it.
    17     Q.   And I want the record to reflect that Mr. Ramadan is
    18     imitating writing and then circling as if he were writing on
    19     a paper.
    20                When -- was this -- did Agent Thomas or anyone else
    21     in the room ask you any other questions about terrorism?
    22     A.   All of them, they were like -- they were, you know,
    23     included in the interrogation but mostly it was the FBI guy
    24     except James Brown, he did not say anything. He was, like,
    25     going back and forth, and he was doing like that, and giving


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     1     me that look like a frown and making, like, breathing sounds.
     2     Q.   Just a second. I want the record to reflect that
     3     Mr. Ramadan has crossed his arms and made a frowning face.
     4                 THE COURT: All right.
     5     A.   He was giving me that look like he had enough of me, so
     6     anything that I'm saying is a lie.
     7     BY MS. FITZHARRIS:
     8     Q.   Mr. Ramadan, what questions were you asked about
     9     terrorism?
    10     A.   The same questions that the short guy asked me about the
    11     caliphate, Islamic caliphate.
    12     Q.   What did he ask you about the caliphate?
    13     A.   If I support them, and I said no, of course not. I told
    14     him that as a Muslim I like to have a caliphate but not like
    15     the one for ISIS. How are you going to have a caliphate
    16     without the blood shade [sic].
    17     Q.   Hold on a second.
    18     A.   How are you going to establish a caliphate without the
    19     blood shade.
    20     Q.   Hold on a second. So was that a question posed to you,
    21     how are you going to have a caliphate with out bloodshed?
    22     A.   Yes.
    23     Q.   Who asked you that question?
    24     A.   The FBI.
    25     Q.   Okay. Were you asked if you support ISIS?


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     1     A.   Yes.
     2     Q.   Were you asked whether you ever sent money to ISIS?
     3     A.   Yes. And he told me that Mohammed established caliphate
     4     based on like blood, so how are you going to do something
     5     like that? I told him that you're wrong, first of all. I
     6     told him that Mohammed never had his caliphate based on
     7     blood, it was very peaceful for tens of years.
     8     Q.   When you said that Mohammed established a peaceful
     9     caliphate, did the agent -- the FBI agent have any response
    10     to that?
    11     A.   He starting to laugh.
    12     Q.   And did he ask you -- did anyone in that room ask you
    13     about Hamas?
    14     A.   Not -- they asked me but not in this room.
    15     Q.   Okay. Where did they ask you about Hamas?
    16     A.   The tall guy.
    17                 MR. RAMADAN: (In English) Agent.
    18     A.   Agent.
    19     BY MS. FITZHARRIS:
    20     Q.   And where did he ask you?
    21     A.   At the first interrogation room.
    22     Q.   Okay.
    23     A.   I told him that I don't like them.
    24     Q.   When you were asked questions about ISIS, did you feel
    25     that you had to respond?


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     1     A.   They had, like, their own system where, like, you know,
     2     they all were wearing weapons on them and especially after
     3     they threaten, you know, to go to Guantanamo, that's why,
     4     like -- I was, like, cooperative and they, like, forced --
     5     they forced me to talk to them.
     6     Q.   Did they ask you questions about anything other than
     7     terrorism when you were in the conference room?
     8     A.   Until then I don't think so.
     9     Q.   Did they ask you at all about firearms when you were in
    10     the conference room?
    11     A.   Not in the conference room. When they send me from
    12     there and went to the lobby.
    13     Q.   Okay. Hold on a second. I'm going to collect my
    14     thoughts.
    15                 When you were in the conference room, did they ask
    16     you about any other topic other than your travel plans,
    17     terrorism, and the items in your bags?
    18                 THE INTERPRETER: Can you repeat the three things,
    19     please.
    20                 MS. FITZHARRIS: Terrorism, travel plans and items
    21     in your bags.
    22     A.   No.
    23     BY MS. FITZHARRIS:
    24     Q.   All right. When you were in that conference room, did
    25     you ask for a lawyer?


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     1     A.   Yes.
     2     Q.   How many times did you ask for a lawyer in the
     3     conference room?
     4     A.   One time.
     5     Q.   When the conversation in the conference room finished,
     6     what happened next?
     7     A.   First they took me to an interrogation room.
     8                 MR. RAMADAN: (In English) I'm sorry.
     9     A.   Oh, I'm sorry. I -- when I was in a conference room
    10     they also asked me about the password regarding the device.
    11     BY MS. FITZHARRIS:
    12     Q.   Okay. Who asked you about the passwords to the devices?
    13                 MR. RAMADAN: (In English) The FBI agent.
    14     A.   The FBI agent.
    15     BY MS. FITZHARRIS:
    16     Q.   Did you give him pass codes to those devices?
    17     A.   No.
    18     Q.   What did you say when he asked for the pass codes?
    19     A.   I told him that I'm not going give it to you, and do
    20     whatever you want. I'm not -- and I'm not going to give you
    21     the password or the permission to give it to -- to take a
    22     look at any of the device that I have.
    23     Q.   You felt like you had to answer questions about
    24     terrorism but you felt you could say no to giving pass codes.
    25     Why did you feel like you could say no to giving pass codes


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     1     but you couldn't answer other questions?
     2     A.   Because it has lots of personal stuff in it, and my --
     3     and picture of my wife like half naked, and kids.
     4                 MR. RAMADAN: (In English) Private life.
     5     A.   My private life.
     6     BY MS. FITZHARRIS:
     7     Q.   Any point when you were talking to the FBI agents did
     8     you mention a closed head injury?
     9     A.   This was at the -- in the lobby.
    10     Q.   What did you tell the officers about your closed head
    11     injury?
    12     A.   I did tell them that, yes, I was in a motorcycle
    13     accident.
    14     Q.   How does that closed head injury effect you and your
    15     memory?
    16     A.   So because of the injury I -- I forget names and numbers
    17     but not the Arabic names, like more westernized -- English
    18     names.
    19     Q.   Did the officers respond at all after you told them
    20     about this injury?
    21     A.   He told me you're a liar, you're trying to get away from
    22     the answers.
    23     Q.   Who said that to you?
    24                 MR. RAMADAN: (In English) FBI agent.
    25     A.   The FBI agent.


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     1                MR. RAMADAN: (In English) The short.
     2     A.   And the short.
     3     BY MS. FITZHARRIS:
     4     Q.   When did the subject of your closed head injury come up?
     5     A.   They asked me about the address, the store -- regarding
     6     the storage.
     7     Q.   Okay. Where were you when they asked you about the
     8     storage locker?
     9     A.   In the lobby.
    10     Q.   And who was in the lobby with you?
    11     A.   All the people that were in the conference room.
    12     Q.   Okay. Were -- when you were in the lobby, were you in
    13     handcuffs?
    14     A.   In the beginning, no.
    15     Q.   Okay. So you said in that -- at first when you were in
    16     the conference room you had handcuffs on. At what point were
    17     the handcuffs taken off?
    18     A.   They moved me to the first interrogation room. I sat
    19     there, like, around 10 or 15 minutes.
    20     Q.   And were the handcuffs removed in that interrogation
    21     room?
    22     A.   Once I entered the room they took off the handcuffs.
    23     Q.   And who took off the handcuffs?
    24                MR. RAMADAN: (In English) The short.
    25     A.   The short.


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     1     BY MS. FITZHARRIS:
     2     Q.   Okay. So Officer Schmeltz.
     3     A.   Officer Schmeltz.
     4     Q.   So how long were you in that -- after you were in the
     5     conference room and you were put back in the first
     6     interrogation room, how long were you in there?
     7                MR. RAMADAN: (In English) Can you repeat this,
     8     please.
     9     BY MS. FITZHARRIS:
    10     Q.   So after you were in the conference room and moved into
    11     the interrogation room, how long were you in that first
    12     interrogation room?
    13     A.   Around 15 minutes.
    14     Q.   When you were in that room were you alone?
    15     A.   I had the short guy with me.
    16     Q.   And when you were in that interrogation room the second
    17     time, did the short officer ask you questions?
    18     A.   I think he asked me a few questions but I don't
    19     remember. So he was, like, playing with the phone and he
    20     asked me about the passwords again.
    21     Q.   At what point were you taken into the waiting area?
    22     A.   After that they moved to the lobby and they moved me
    23     with them.
    24     Q.   And who moved you into the lobby?
    25                MR. RAMADAN: (In English) The short --


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     1     A.   The short --
     2                 MR. RAMADAN: (In English) -- agent.
     3     A.   -- agent.
     4     BY MS. FITZHARRIS:
     5     Q.   When you were in the lobby and when he moved you were
     6     you wearing handcuffs?
     7     A.   No.
     8     Q.   What happened when you arrived back in the lobby?
     9     A.   They were -- they were already there, the agents.
    10     Q.   And where did you go?
    11     A.   They made me sit on a chair in the lobby.
    12     Q.   When you were sitting in the chair in the lobby, did
    13     they ask you any questions?
    14     A.   Yes.
    15     Q.   What questions did they ask you?
    16     A.   They asked me about pictures that they saw on the hard
    17     drive.
    18     Q.   What pictures on the hard drive?
    19     A.   Other videos.
    20     Q.   What did those videos show?
    21     A.   Video about the person using drugs.
    22                 THE COURT: Wait a minute. I'm having trouble
    23     hearing you again. A video of what?
    24                 THE INTERPRETER: Video about a guy using drugs.
    25                 THE COURT: Thank you.


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     1                  THE INTERPRETER: You're welcome.
     2     BY MS. FITZHARRIS:
     3     Q.    Did they ask you about any other videos?
     4     A.    And the picture about broken glass and picture about a
     5     pipe bomb.
     6     Q.    When you were in the waiting area, did they ask you
     7     about firearms?
     8     A.    Yes.
     9     Q.    What did they ask you about firearms?
    10     A.    He told me -- he asked me if I have weapons. I said I
    11     do.
    12     Q.    Who asked you if you had weapons?
    13     A.    The FBI.
    14     Q.    And what -- did he ask you any other questions about
    15     firearms?
    16     A.    He asked me where do I have them.
    17     Q.    What did you say?
    18     A.    I said in a storage.
    19     Q.    Did you tell him where the storage unit was?
    20     A.    I told him that I -- I don't remember the address. And
    21     he said how come you don't remember the address? You always
    22     go there. How come you don't have the address? I told him
    23     that I had a motorcycle accident and I have an injury, I
    24     cannot remember numbers and names.
    25     Q.    Okay.


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     1     A.   But I told him that I can show it to you on the computer
     2     or I can take you there.
     3     Q.   When you were answering questions about the location of
     4     your firearms, did you feel like you had to answer?
     5     A.   Yes, after threatening me, like, when he told -- you
     6     know, threatening me about Guantanamo, and I was, like,
     7     concerned that they will take me away from my family. And he
     8     told me that if you're not going to talk you will be staying
     9     with us, so it is better for you to talk.
    10                 MR. RAMADAN: (In English) You have to talk.
    11     A.   You have to talk.
    12     BY MS. FITZHARRIS:
    13     Q.   When you were in this waiting area, was your family
    14     there with you?
    15     A.   No.
    16     Q.   Did you know where your family was?
    17     A.   I asked about them. He told me that they left. I asked
    18     for a phone so I can call them make and sure that they are
    19     okay. He told me that I cannot talk to them.
    20     Q.   Did the FBI agent ask you any other questions about
    21     firearms?
    22     A.   How many firearms I have.
    23     Q.   Did he ask you whether you purchased them legally?
    24     A.   Yes. I told him that I buy it under my name legally.
    25     Q.   You mentioned a pipe bomb. Were you asked any questions


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     1     about a pipe bomb?
     2     A.   So, first, he brought the picture of a broken glass, and
     3     he asked me where is that picture taken. I told him that it
     4     is at my house in Bethlehem.
     5     Q.   What did you -- what happened after you explained the
     6     broken glass photo in your house in Bethlehem?
     7     A.   He went and came back, and then a picture appeared to
     8     me, a pipe bomb.
     9     Q.   When he showed you -- and who showed you the photo of a
    10     pipe bomb?
    11     A.   The FBI agent.
    12     Q.   Did he ask you any questions about the photo of a pipe
    13     bomb?
    14     A.   He told me where was that picture taken. I told him off
    15     of the internet. And he told me you are a liar, this picture
    16     is at your house.
    17     Q.   Who said that you were a liar?
    18     A.   The FBI agent.
    19     Q.   After the FBI agent said that you were lying about the
    20     pipe bomb, what happened next?
    21     A.   And he brought both pictures and he told me that it is
    22     the same tile. I told him that it is a different tile; one
    23     is like reddish color -- toward reddish color, and the other
    24     one is more like white, and the square that is in it is
    25     different.


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     1     Q.   Did he -- sorry.
     2     A.   So he asked me is this picture in America or your
     3     country.
     4     Q.   What did you say when he asked you if this photo was in
     5     America or in Palestine?
     6     A.   I told him that it's -- it's in my country because they
     7     do that there.
     8     Q.   And when you say my country, do you mean Palestine?
     9     A.   Yes.
    10     Q.   Did Agent Thomas ask you if you made the pipe bomb?
    11     A.   He asked me if I know how to make one. I told him
    12     personally I don't know how to make one and I never tried to,
    13     but one time I saw on TV on the History Channel how they make
    14     one. It was, like, an FBI agent was, like, showing how you
    15     make one. So they can, you know, check how -- how it will
    16     effect, so it was like for security and education purpose.
    17     Q.   Did he ask you any other questions about how pipe bombs
    18     are made?
    19     A.   And he asked me what do they put in it. I said I don't
    20     know. So he asked me if you are going to get all of the
    21     supplies to make one how long it will take you to make one.
    22     Q.   What did you say in response?
    23     A.   I told him I don't know but I never done -- make one,
    24     but based on what I watch on TV it will take one hour maybe
    25     around.


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     1     Q.   After Agent Thomas was finished asking you about -- when
     2     you were answering questions about pipe bomb, did you feel
     3     that you had to answer?
     4     A.   Yes, because, you know, there was, like, all around me
     5     and showing me pictures and they all had guns.
     6     Q.   All right. I'm going to approach again and do some more
     7     of the writing.
     8                THE COURT: All right.
     9     BY MS. FITZHARRIS:
    10     Q.   Okay. In this area where there is a lobby, can you
    11     point to me where you were sitting?
    12                I'm marking in the lobby with an R where
    13     Yousef Ramadan was sitting.
    14                Where was Agent Thomas?
    15     A.   He was here in front of me back and forth, he was going
    16     back and forth.
    17     Q.   I'm marking on the area in the lobby with a T where
    18     Agent Thomas was walking back and forth.
    19                Where was Officer Brown?
    20     A.   Officer Brown, he was behind him going back and forth.
    21     Q.   I'm marking --
    22     A.   He would, like, be walking.
    23     Q.   Okay. I'm marking where Agent Brown was walking back
    24     and forth with the letter B.
    25                Where was the tall officer, Officer Armentrout?


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     1     A.   He was here (indicating.)
     2     Q.   I'm marking on the diagram in the lobby with an A where
     3     Officer Armentrout was.
     4                Where was Officer Schmeltz, the short officer?
     5     A.   He was next to me.
     6     Q.   I'm marking with an S where Officer Schmeltz was.
     7                And --
     8     A.   They were like all of them going back and forth, like,
     9     changing their spots.
    10     Q.   Okay. And for identification purposes I'm marking these
    11     on Defendant's Proposed Exhibit F as in Frank.
    12     A.   And you forgot the guy with the beard.
    13     Q.   Where was the man with the beard, Agent Kelley?
    14     A.   He was standing up here. He was, like, standing up here
    15     but he would be, like, talking to the FBI guy.
    16     Q.   Okay. I'm marking on Defendant's Proposed Exhibit F, as
    17     in Frank, with the letter K for where Agent Kelley was
    18     walking.
    19     A.   He will go to the command room, but all of them they
    20     would be, like, going to that computer room.
    21     Q.   Okay. How did the interview in the lobby end?
    22     A.   After they asked me the question, and I changed my story
    23     where the -- about the storage -- about the weapons that
    24     was -- if they were in a storage area or someplace else.
    25     Q.   So after you changed your story, what was their


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     1     response?
     2     A.   They told me you're playing with us.
     3     Q.   Who said that?
     4     A.   Tom.
     5     Q.   The -- Thomas, the FBI agent?
     6     A.   Yes.
     7     Q.   After Thomas said you are playing with us, what happened
     8     next?
     9     A.   He asked me where -- where do you have them. I said at
    10     my friend's. He asked me give me -- give us his name to make
    11     sure that he does not have a felony. I said don't worry, he
    12     did not have a felony. He has weapons.
    13     Q.   After you said that your friend -- you gave them to a
    14     friend who does not have a felony, what happened next?
    15     A.   All of a sudden James Brown get upset.
    16                 MR. RAMADAN: (In English) He got mad.
    17     A.   He got mad.
    18     BY MS. FITZHARRIS:
    19     Q.   When you said he got mad, what did he do?
    20     A.   He yelled at me, he told me stand up, turn, and he took
    21     off his handcuffs and put them on me. And he lifted -- and
    22     he put his arm between my -- both my arms and lifted up, and
    23     he hit me two punches on my stomach.
    24                 MR. RAMADAN: (In English) Who do you think you
    25     are, you sand nigger.


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     1     A.   He told me what do you think you are, you son of nigger.
     2                MR. RAMADAN: (In English) No, sand nigger.
     3     A.   Sand nigger. Are you going to keep on lying? I don't
     4     like your story since the minute I saw you, and then he
     5     twisted my ear and he pulled my hair. And FBI guy was there
     6     and all of them they were there, and then he put my hands
     7     down and he told me to sit down. He told me right now you
     8     are going to take us where are the weapons, otherwise I'm
     9     going to keep on hitting you all night. I told him no matter
    10     what you do I'm not going to say anything, and I want a
    11     lawyer to tell them what's going on.
    12     BY MS. FITZHARRIS:
    13     Q.   Mr. Ramadan, if the marshals don't mind, Mr. Ramadan,
    14     can you stand up. Where did agent -- where did Officer Brown
    15     punch you, can you show us?
    16     A.   This area (indicating).
    17     Q.   Your left side or the right side or the center?
    18     A.   I think toward the right.
    19     Q.   Okay. And which ear did Agent Brown twist?
    20     A.   (Indicating.)
    21     Q.   Is this your left ear or right ear?
    22     A.   Right ear.
    23     Q.   And if you show the Judge, where did Officer Brown pull
    24     your hair?
    25     A.   The right side.


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     1     Q.   Is that right behind your ear?
     2     A.   Yes.
     3     Q.   Thank you. You can sit down.
     4                 Did Officer Brown put handcuffs on you?
     5     A.   Yes.
     6     Q.   When he handcuffed you, did he handcuff you with your
     7     hands in front or in back?
     8     A.   Can I stand up to show you?
     9     Q.   Yes, you may.
    10     A.   He asked me to stand up, turn your back, give me your
    11     hands to the back. I did do what asked, and he put the
    12     handcuffs on, and then he lifted my arms up and he put his
    13     hand in between my both arms.
    14                 MR. RAMADAN: (In English) Can she stand so --
    15                 UNIDENTIFIED MARSHAL: No.
    16     A.   He put his arm in between my both arms and lifted up,
    17     and then he hit me.
    18     BY MS. FITZHARRIS:
    19     Q.   Okay. After Officer Brown put handcuffs on you, what
    20     happened next?
    21     A.   He hit me.
    22     Q.   Sorry. And after he hit you and twisted your ear and
    23     pulled your hair, what happened next?
    24     A.   He told me that you're going to take us where you have
    25     the weapons, otherwise I'm going to keep on hitting you all


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     1     night. You have to take us. No one is going to help you
     2     here.
     3                 I said I need the lawyer right now and I want to
     4     call my family, and I'm not going to talk to you no matter
     5     what you ask me and what you do.
     6     Q.   And did they stop asking you questions then?
     7     A.   Yeah, after that they left. They asked the -- they
     8     pulled the FBI agent --
     9                 MR. RAMADAN: (In English) No, he pulled him.
    10     A.   He pulled him, and they made me sit on a seat, and they
    11     wanted to talk to each other.
    12     BY MS. FITZHARRIS:
    13     Q.   And where were you seated?
    14     A.   At the same place, in the lobby until then.
    15     Q.   Okay. And when you were sitting in the lobby, were you
    16     handcuffed?
    17     A.   Yes.
    18     Q.   At some point were you allowed to go home?
    19     A.   No. I asked them if I can go home. He said no, I have
    20     to -- we have to finish up the interrogation. If you will be
    21     cooperative, you can go after.
    22     Q.   At any point during this time when you were in the
    23     secondary inspection area, did anyone tell you that you had
    24     the right to remain silent?
    25     A.   No one told me about my rights.


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     1     Q.    At any time when you were -- so you were not told that
     2     you had the right to remain silent?
     3     A.    No.
     4     Q.    At any time when you were in the secondary inspection
     5     area, were you told that you had the right to a lawyer?
     6     A.    No.
     7     Q.    At any point when you were in the secondary inspection
     8     area, were you told that if you could not afford a lawyer one
     9     would be appointed for you?
    10     A.    No.
    11     Q.    On August 16th did you eventually go back home?
    12     A.    Yes. Then after they took me to the second
    13     interrogation room they kept me there, I don't know for how
    14     long exactly, maybe 40 minutes.
    15     Q.    Umm --
    16                 MR. RAMADAN: (In English) They let me go.
    17     A.    And then they let me go, they escort me too.
    18     BY MS. FITZHARRIS:
    19     Q.    So I'm going to again write on the drawing. When you
    20     said you were taken to the second interrogation room, can you
    21     point on exhibit -- Defendant's Proposed Exhibit F where it
    22     is?
    23     A.    (Indicating.)
    24     Q.    I'm going to mark that with the letter I and a dash and
    25     the number 2. Who brought you into the second interrogation


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     1     room?
     2     A.   As far as I remember, I think the tall agent.
     3     Q.   Okay. Who escorted you outside of the airport when you
     4     were finished?
     5                MR. RAMADAN: (In English) The short.
     6     A.   The short.
     7     BY MS. FITZHARRIS:
     8     Q.   So Officer Schmeltz.
     9                What time was it when you were escorted out of the
    10     airport?
    11                THE DEFENDANT: Around -- between 5:00 and 6:00 in
    12     the morning, I believe.
    13     A.   Between 5:00 and 6:00 in the morning I believe.
    14     BY MS. FITZHARRIS:
    15     Q.   Who picked you up from the airport?
    16                MR. RAMADAN: (In English) My sister.
    17     A.   My sister.
    18     BY MS. FITZHARRIS:
    19     Q.   And what is your sister's name?
    20                MR. RAMADAN: (In English) Asma.
    21     A.   Asma.
    22     BY MS. FITZHARRIS:
    23     Q.   Where did you go after you left the airport?
    24                MR. RAMADAN: (In English) To my sister -- my other
    25     sister's house.


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     1     A.   To my other sister's house.
     2     BY MS. FITZHARRIS:
     3     Q.   When you got to your other sister's house, was your
     4     family there?
     5     A.   Yes.
     6     Q.   What -- and when you got home, what did you do when you
     7     first got home?
     8     A.   I made sure that the kids were okay, my wife was okay,
     9     and I was like very tired. After I made sure that everything
    10     was okay I went to sleep.
    11     Q.   At any point did you look -- check your bags? When did
    12     you check your bags?
    13     A.   So on that morning after I slept for a few hours I woke
    14     up, I want to see, like, what did they take, what did they do
    15     in the suitcases.
    16     Q.   And when you checked your suitcases, was everything
    17     there?
    18     A.   No.
    19     Q.   What was missing?
    20     A.   So what's important was like the backpacks, so I wanted
    21     to make sure that the money was there and the gold.
    22     Q.   Was the money and gold in the backpack?
    23     A.   No.
    24     Q.   How much money was missing?
    25     A.   The whole amount of money.


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     1     Q.   After you noticed the money and gold was missing, what
     2     did you do?
     3                 MR. RAMADAN: (In English) The money and the
     4     gold --
     5     A.   I right away I asked my wife, and she told me this is
     6     how they gave it to me, still the same.
     7     BY MS. FITZHARRIS:
     8     Q.   Did you do anything else after you spoke with your wife
     9     about the gold and the money?
    10     A.   So it was, like, around after noon I called the FBI
    11     agent.
    12     Q.   On what date was that, August 16th?
    13     A.   I think so, 16th.
    14     Q.   How many times did you call Agent Thomas?
    15     A.   Two times.
    16     Q.   What days were those, if you can remember?
    17     A.   I know that on the 16th I called him. I think the
    18     second time was on the 17th, and it's recorded those calls.
    19     Q.   You mentioned earlier that you had had an experience
    20     with the police in 2015 that kind of caused you some concern;
    21     is that right?
    22     A.   Yes.
    23     Q.   What exactly happened that day?
    24     A.   I was sleeping. I heard like people knocking at the
    25     door, and they said -- and they said U.S. Marshal, open the


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     1     door. I was like, you know -- you know, I was about to get
     2     up, and -- so I just woke up, and was, like, shocked somebody
     3     knocking hard on the door, and U.S. Marshal and the police,
     4     and they were like, you know, loudly saying open the door,
     5     open the door.
     6                So I was like scared to open the door or get
     7     confused, and then I opened the door, and they asked me to
     8     put my hands up. And I told them that I was sleeping, I was
     9     sleeping. So they asked me open the door. I open the door,
    10     and then he pulled my left arm, I think so, and he slammed me
    11     on the floor, and they were, like, all attacking me. He saw
    12     my wife taking a video on her phone.
    13     Q.   What was your wife taking a video with?
    14                MR. RAMADAN: (In English) Cellphone.
    15     A.   Cellular phone.
    16     BY MS. FITZHARRIS:
    17     Q.   When the officer saw your wife taking a video, what did
    18     they do?
    19     A.   They entered the house toward her and they had the
    20     weapons towards her.
    21                MR. RAMADAN: (In English) Pointing at her.
    22     A.   Pointing at her. And then they took the phone from her,
    23     and they pulled her arm like that. They pulled her arm, and
    24     then the phone fell from her.
    25     BY MS. FITZHARRIS:


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     1     Q.   And is this the same time when the -- when you felt like
     2     you had to give the officers your pass codes and they erased
     3     videos?
     4     A.   I was, like, forced to.
     5     Q.   Right, but is this that same time when you gave them
     6     pass codes and they erased it?
     7                 MR. RAMADAN: (In English) That's the only time.
     8     A.   That's the only time.
     9     BY MS. FITZHARRIS:
    10     Q.   Okay. Did they erase all videos of this incident?
    11     A.   For my own luck that she was taking -- she taping with
    12     her own phone. So they asked me where is my phone, I told
    13     them here it is, I gave it to them.
    14     Q.   So --
    15     A.   And they asked me about the password.
    16     Q.   So this video that your wife took, what happened to it?
    17     A.   The police officer turned off the recorder and -- turned
    18     off the phone.
    19     Q.   Do you still --
    20                 MR. RAMADAN: (In English) Locked.
    21     A.   Locked the phone.
    22     BY MS. FITZHARRIS:
    23     Q.   Mr. Ramadan, do you still have a copy of the video that
    24     your wife took?
    25     A.   Yes.


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     1     Q.   Where do you keep a copy of that video?
     2     A.   On the hard drive.
     3     Q.   And what is the brand name of that hard drive?
     4                 MR. RAMADAN: (In English) Five terabyte. I don't
     5     know the name. It starts with S.
     6     A.   It starts with an S. I forgot the name.
     7     BY MS. FITZHARRIS:
     8     Q.   Seagate maybe?
     9                 MR. RAMADAN: (In English) Yes.
    10     BY MS. FITZHARRIS:
    11     Q.   Is that the same hard drive that the officers were
    12     looking at in the airport?
    13     A.   So it was on a different hard drive, but every year I
    14     get, like, better hard drive, so I did switch it to because I
    15     take lots of -- I have lots of cameras and I take lots of
    16     pictures.
    17     Q.   Okay. But the video that your wife took when the FBI
    18     came to your house in 2015, is that video on the hard drive
    19     that we are looking at in the airport?
    20     A.   Yes.
    21     BY MS. FITZHARRIS:
    22     Q.   I've asked Ms. Whittaker (phonetic) to select the photo
    23     labeled IMG_3064.mp4. Do you mind opening it and pausing it?
    24                 All right. I know we have only seen a little bit,
    25     Mr. Ramadan. Do you recognize this video?


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     1     A.   Yes. This is where I was in this video.
     2     Q.   Okay.
     3                MR. RAMADAN: (In English) If you repeat --
     4     A.   Can you rewind it and put the volume up so they can
     5     hear, please.
     6                MS. FITZHARRIS: Yes. So for identification
     7     purposes this is going to be Defense Exhibit G at this point,
     8     Your Honor, we move to admit Exhibit G.
     9                THE COURT: Okay.
    10                MR. WATERSTREET: No objection, Your Honor.
    11                THE COURT: It may be received.
    12                (Defendant's Exhibit G received into evidence.)
    13                MS. FITZHARRIS: Do you mind starting from the
    14     beginning.
    15                (Defendant's Exhibit G played.)
    16     BY MS. FITZHARRIS:
    17     Q.   How did that 2015 incident impact the way that you were
    18     feeling on August 15th and 16th, 2017?
    19     A.   A lot. So that's a proof that the police they hit when
    20     they put me on the floor, even though I had my arms up, and I
    21     was cooperative, and I did open the door for them, he just --
    22     not just liked asked me to turn around and put the handcuffs
    23     on me, he just, like, pushed me on the floor.
    24                MR. RAMADAN: (In English) He slammed.
    25     A.   He slammed me on the floor, and they jumped on me all of


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     1     them, and he put his knee on my neck, and he was saying,
     2     like, stop resisting, stop resisting, and I wasn't even
     3     resistant. And they start hitting me, and I said, like, I'm
     4     not resistant, why are you hitting me? And I was, like,
     5     laying down on the floor. How am I going to resist you? And
     6     I had the handcuffs on my arms.
     7     BY MS. FITZHARRIS:
     8     Q.   So on August 15th when you were in the secondary
     9     inspection area, were you thinking about this 2015 incident?
    10     A.   Yes. This is one of main reasons, and that's why -- and
    11     also I have another proof to -- that's another proof to tell
    12     the truth about them.
    13                MR. RAMADAN: (In English) To say I want --
    14                THE INTERPRETER: Your Honor, can the interpreter
    15     check one word?
    16                THE COURT: Yes.
    17                THE INTERPRETER: I have to go to my phone. Is
    18     that okay?
    19                THE COURT: Counsel, how much more do you have on
    20     your examination?
    21                MS. FITZHARRIS: I hesitate to give an estimate. I
    22     have four other topics I would like to ask questions about.
    23                THE COURT: How long? Do you have any idea how
    24     long that might be?
    25                MS. FITZHARRIS: You know, each topic is maybe 10


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     1     minutes, so 40 minutes.
     2                MR. DENSEMO: Judge, could we take a break at about
     3     2:00 if at all possible? I have a presentence
     4     investigation --
     5                THE COURT: I'm sorry. I can't hear you.
     6                MR. DENSEMO: Is it possible to take a break at
     7     2:00? I have a presentence investigation interview at 2:00.
     8     If that's not feasible, don't worry about it, but if the
     9     Court is going to take a break --
    10                THE COURT: I'm going to take a break very shortly
    11     for lunch. It is already a quarter to 1:00.
    12                MS. FITZHARRIS: So why don't we finish up -- I can
    13     finish with this topic, this is pretty much the end of it,
    14     and then we will resume.
    15                THE COURT: All right. And then you have to be
    16     somewhere else at 2:00?
    17                MR. DENSEMO: I can find somebody else to cover it.
    18                THE COURT: I hate to delay it because I would like
    19     to get done today.
    20                MR. DENSEMO: That's fine. I will find somebody to
    21     cover it for me.
    22     BY MS. FITZHARRIS:
    23     Q.   Okay. So --
    24     A.   So this thing will like disclose or unmask them.
    25     Q.   Okay --


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     1     A.   Because I had security cameras at my house in each room
     2     for my own safety.
     3     Q.   Is this why you asked that the interrogation be
     4     recorded?
     5     A.   Yes.
     6                 MS. FITZHARRIS: I'm finished with this topic.
     7     A.   So they asked me for the passwords.
     8                 MR. WATERSTREET: Your Honor, I don't think there
     9     is a question pending. She said she was done and now --
    10                 THE COURT: Right, sustained. We are talking about
    11     passwords for his house?
    12                 MS. FITZHARRIS: Okay. So I don't -- at this time
    13     I don't have questions, but when we come back.
    14     A.   All right. Okay.
    15                 THE COURT: All right. We will break for lunch now
    16     to resume at ten minutes of 2:00.
    17                 THE LAW CLERK: All rise. Court is in recess.
    18                 (Court recessed at 12:44 p.m.)
    19                                    _     _    _
    20                 (Court reconvened at 2:03 p.m.; Court, Counsel and
    21                 all parties present.)
    22                 THE LAW CLERK: All rise. Calling Case No.
    23     17-20595, United States vs. Yousef Ramadan. Back on the
    24     record.
    25                 You may be seated.


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     1                 THE COURT: All right. You may continue.
     2     BY MS. FITZHARRIS:
     3     Q.   Mr. Ramadan, except for this case, have you been
     4     arrested before?
     5     A.   Yes.
     6     Q.   Where were you arrested?
     7     A.   In California.
     8     Q.   When you were arrested in California, explain to me what
     9     the officers who arrested you did?
    10     A.   They took me in a police car to jail with the handcuffs
    11     on, and they did interrogation with me.
    12     Q.   And when --
    13     A.   And they took me to isolated area.
    14     Q.   So when you were asked questions when you were arrested,
    15     were you alone in a room with an officer?
    16     A.   Yes.
    17                 MR. WATERSTREET: Can we ask him what happened
    18     rather than leading, please, Your Honor?
    19                 THE COURT: Pardon me?
    20                 MR. WATERSTREET: These are leading questions. She
    21     is suggesting what happened. Ask him what happened.
    22                 THE COURT: All right. Restate your question,
    23     Counsel.
    24     BY MS. FITZHARRIS:
    25     Q.   When you were taken to the station, where did the


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     1     officers put you?
     2                 MR. RAMADAN: (In English) In a room.
     3     A.   In a room.
     4     BY MS. FITZHARRIS:
     5     Q.   Who else was in the room with you?
     6     A.   Just me.
     7     Q.   At any point were there police officers in the room?
     8     A.   Yes, he was talking to me.
     9     Q.   And when you were in the room, were you wearing
    10     handcuffs?
    11     A.   Yes.
    12     Q.   When you were at the airport on August 15th and 16th,
    13     2007, did you think that you were under arrest?
    14                 MR. RAMADAN: (In English) Can you repeat the
    15     question?
    16     A.   Can you repeat the question?
    17     BY MS. FITZHARRIS:
    18     Q.   When you were at the airport in secondary inspection
    19     area on August 15th and 16th, 2017, did you think that you
    20     were under arrest?
    21     A.   Yes.
    22     Q.   Why did you think you were under arrest?
    23     A.   First of all, it was the same kind of what happened with
    24     me in California. They put the handcuffs on me, and they
    25     took me out of the plane, and they led me to a separate


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     1     area --
     2                 MR. RAMADAN: (In English) Took me to the separate
     3     area.
     4     A.   Took me to a separate area, and, of course, they put the
     5     handcuffs on me, and they interrogated with me, and they told
     6     me that I have to talk, and I wasn't free to go home.
     7     BY MS. FITZHARRIS:
     8     Q.   Have you ever been asked to go to the second -- when you
     9     have crossed -- have you crossed the border before?
    10     A.   Yes.
    11     Q.   And at any point when you've crossed the border before
    12     have you been asked to go to a secondary inspection area?
    13     A.   Yes.
    14     Q.   Where were you when you were asked to go to a secondary
    15     inspection area before?
    16     A.   Where I was going or what city?
    17     Q.   What city.
    18     A.   One time when I was in a plane and they stopped me in
    19     Georgia, so this is where I was like the ticket I was
    20     supposed to stop there. And the other one is in Santa --
    21                 MR. RAMADAN: (In English) San Ysidro, California.
    22     A.   San Ysidro, California.
    23     BY MS. FITZHARRIS:
    24     Q.   When you were taken to secondary inspection before when
    25     you were in California, what did that area look like?


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     1     A.   So we were in a car and it was like -- and there were,
     2     like, lots of people next to us so we did not get out of the
     3     car. The police asked us just -- the four -- the border
     4     patrol asked us just a few questions.
     5     Q.   What questions did they ask you?
     6     A.   Where was I in Mexico, and what do I have -- what did I
     7     bring with me, that's all.
     8     Q.   When you were taken to the secondary inspection area in
     9     Georgia, what did that area look like?
    10     A.   It was a room that has lots of people, big room, so it
    11     wasn't isolated area, so you see people, like, walking at the
    12     airport. So what was the question?
    13     Q.   I was just asking what it looked like.
    14                THE COURT: When was this?
    15     BY MS. FITZHARRIS:
    16     Q.   When were you in secondary inspection in Atlanta?
    17     A.   Maybe 2011.
    18     Q.   And when you are in -- when were you in secondary
    19     inspection in California?
    20     A.   You know, a few times where I have been stopped because
    21     that is a border there to cross.
    22     Q.   When you were in Atlanta or the Georgia secondary
    23     inspection area, what questions were you asked?
    24     A.   Where are you going? How much money do you have?
    25     That's it.


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     1     Q.   Were you asked about terrorism?
     2     A.   No.
     3     Q.   Were you put -- when you were at the secondary
     4     inspection area in Georgia, were you ever put in handcuffs?
     5     A.   No.
     6     Q.   Okay.
     7                THE COURT: Counsel, would you relate it to this
     8     case, please. I mean --
     9                MS. FITZHARRIS: The government when it brought up
    10     Mr. Ramadan's border crossings to suggest that it has to deal
    11     with his subjective understanding, which goes to the
    12     voluntariness question, so I'm expanding on that, and it has
    13     to deal with whether he felt in secondary inspection that he
    14     was under arrest or whether he was truly in secondary
    15     inspection and whether his -- and that goes to the
    16     voluntariness question and also to the Miranda questions.
    17                THE COURT: Were there other reasons why they
    18     stopped him? Was there anything like we have here in terms
    19     of things that he did not have licenses for?
    20                MS. FITZHARRIS: Well, the government has argued
    21     that there was no need to give Miranda warnings at all in the
    22     secondary inspection because this was a routine secondary
    23     inspection, it had nothing to do with investigations or law
    24     enforcement purposes, and that's why they were authorized to
    25     search his digital devices and ask him questions without


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     1     Miranda warnings.
     2                 THE COURT: I know, but in these other situations
     3     did he have anything like that like he had here? You know,
     4     did they find it in his luggage? I want to know, was there
     5     some reason he was stopped outside of --
     6     BY MS. FITZHARRIS:
     7     Q.   When you were in the secondary inspection area in
     8     Atlanta, do you know why you were stopped or sent to
     9     secondary inspection?
    10     A.   I don't know why.
    11     Q.   And when you were put in secondary inspection in
    12     California, do you know why you were put in secondary
    13     inspection?
    14     A.   I think they just, like, you know, randomly one day
    15     think about the car they will stop it and ask questions.
    16     Q.   Okay. Mr. Ramadan, I'm going to ask you about the
    17     storage unit in this case. Did you have -- did you use a
    18     storage unit in the State of Michigan?
    19     A.   Yes.
    20     Q.   And that was in August of 2017?
    21     A.   August 2017.
    22     Q.   Did you have access to a storage unit in August of 2017?
    23     A.   Yes.
    24     Q.   Where that was storage unit?
    25     A.   In Ann Arbor.


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     1     Q.   Did you -- was you -- did you sign a lease for that
     2     storage unit?
     3     A.   Not me, my wife.
     4     Q.   Okay. Did you have a key to that storage unit?
     5     A.   Yes.
     6     Q.   Did you store personal property in that storage unit?
     7     A.   Yes.
     8     Q.   Okay. I'm going to take you back to the airport very
     9     quickly. Okay. When you were in the conference room talking
    10     to Agent Thomas, did the subject of being a confidential
    11     informant come up?
    12     A.   Yes.
    13     Q.   Who brought up that subject?
    14                 MR. RAMADAN: (In English) The FBI agent.
    15     A.   The FBI agent.
    16     BY MS. FITZHARRIS:
    17     Q.   What did he say about becoming a confidential informant?
    18     A.   He gave me the choice to work with them.
    19     Q.   When he said you could work with him, what did you
    20     understand that to mean?
    21     A.   To work with them as an informer, maybe they will put me
    22     in mosque or something like that.
    23     Q.   How did you respond when they asked you to work with
    24     them?
    25     A.   I told them that I do not want to. And he told me you


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     1     don't want to help the American government. I said I will
     2     help this government and I like this country --
     3                 MR. RAMADAN: (In English) I love this country.
     4     A.   I love this country, and I'm willing to fight and be in
     5     the first rows, but --
     6                 MR. RAMADAN: (In English) For this country.
     7     A.   -- for this country, but I do not want to work as an
     8     informer.
     9                 MS. FITZHARRIS: All right. At this time, Your
    10     Honor, I move to admit Exhibits E and F, which are the two
    11     drawings.
    12                 THE COURT: All right. Any objections?
    13                 MR. WATERSTREET: No, Your Honor.
    14                 THE COURT: They may be received.
    15                 (Defendant's Exhibits E and F received into
    16                 evidence.)
    17                 MS. FITZHARRIS: If it would be possible to make
    18     copies of these before we leave to give to the government.
    19                 THE COURT: We don't have a copier here.
    20                 MS. FITZHARRIS: No? Okay.
    21                 THE COURT: We can do them upstairs later.
    22                 MS. FITZHARRIS: That's fine. No further
    23     questions, Your Honor.
    24                 THE COURT: All right. Cross-examination?
    25                 MR. WATERSTREET: Yes, Your Honor. May I have a


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     1     moment to get everything set up here, please?
     2                THE COURT: Yes.
     3                MR. WATERSTREET: May I proceed, Your Honor?
     4                THE COURT: Yes.
     5                               CROSS-EXAMINATION
     6     BY MR. WATERSTREET:
     7     Q.   Mr. Ramadan, good afternoon.
     8     A.   Good afternoon.
     9     Q.   Why don't we try this: Why don't you listen to me in
    10     English, if you have any problems with any of my words you
    11     can refer to the interpreter. How about we try that?
    12                MR. DENSEMO: I object, Your Honor.
    13                THE COURT: Pardon me?
    14                MR. DENSEMO: I object to that. The purpose of the
    15     interpreter is for the interpreter to interpret what is being
    16     said and then what -- Mr. Ramadan is to say to the
    17     interpreter what his response is and give that response to
    18     the government.
    19                THE COURT: All right. No, I think that we should
    20     have the interpreter to be sure he understands the questions
    21     asked.
    22                MR. WATERSTREET: Quite all right, Your Honor. I
    23     just -- defense counsel assured the Court earlier and --
    24                THE COURT: I understand.
    25                MR. WATERSTREET: Okay.


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     1     BY MR. WATERSTREET:
     2     Q.   I'm going to ask you some questions about yourself,
     3     about your contact with the agents, and why you are here
     4     today. Okay.
     5     A.   Okay.
     6                 MS. FITZHARRIS: Your Honor, before we begin, if
     7     he's going to ask why he's here today if it relates to
     8     criminal activities, I am going to object to those questions.
     9     We are here to talk about the suppression issues, the
    10     voluntariness of his statements, and whether they had
    11     reasonable suspicious to search his devices, and whether the
    12     gold and money should be returned to him. Those are the
    13     issues here today, not why he's charged with these crimes.
    14                 MR. WATERSTREET: May I proceed, Your Honor?
    15                 THE COURT: You may.
    16                 MR. WATERSTREET: Thank you.
    17                 THE COURT: Thank you.
    18     BY MR. WATERSTREET:
    19     Q.   You understand the reason we are here today is for the
    20     Judge to determine what happened?
    21                 MR. RAMADAN: (In English) Yes.
    22     A.   Yes.
    23     BY MR. WATERSTREET:
    24     Q.   Okay. And to determine who is telling the truth?
    25                 MR. RAMADAN: (In English) Yes.


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     1     A.   Yes.
     2     BY MR. WATERSTREET:
     3     Q.   And who is being honest?
     4                 MR. RAMADAN: (In English) Yes.
     5     A.   Yes.
     6     BY MR. WATERSTREET:
     7     Q.   You have taken an oath to tell the truth, the whole
     8     truth and nothing but the truth, correct?
     9     A.   Yes.
    10     Q.   Okay. And you have taken a similar type of oath like
    11     that in the past, have you not?
    12     A.   Yes.
    13     Q.   Okay.
    14                 MS. FITZHARRIS: Your Honor, at this point I'm
    15     going to object because --
    16                 THE COURT: To what?
    17                 MS. FITZHARRIS: It seems to me that
    18     Mr. Waterstreet is intending to ask Mr. Ramadan about his
    19     naturalization application, and that has significant impact
    20     on his future ability to stay in this country, and it is
    21     completely beyond the scope of this, and I think, you know,
    22     if that is the subject of his line of questioning we put an
    23     objection and we would advise Mr. Ramadan to take the Fifth.
    24                 They have threatened to supersede and charge him
    25     with this offense, and so it is an improper line of


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     1     questioning in this case.
     2                 THE COURT: Okay.
     3                 MS. FITZHARRIS: In this hearing.
     4                 THE COURT: Mr. Waterstreet.
     5                 MR. WATERSTREET: Your Honor, Rule 609 allows me to
     6     go into false statements and other findings of falsity in the
     7     past. That maybe an area, but that's not where I'm going
     8     right now, Judge. May I proceed?
     9                 THE COURT: Let me hear the questions. Yes, you
    10     may proceed.
    11     BY MR. WATERSTREET:
    12     Q.   You have made -- you have been placed under oath in the
    13     past, have you not?
    14     A.   Yes.
    15     Q.   Promised to tell the truth?
    16     A.   Yes.
    17     Q.   And you have lied?
    18     A.   No.
    19     Q.   Okay. So let's make sure we are all on the same page.
    20     You are a liar and a thief, are you not?
    21                 MS. FITZHARRIS: Objection; argumentative.
    22                 THE COURT: Its bordering. Rephrase, Counsel.
    23     BY MR. WATERSTREET:
    24     Q.   Have you been convicted of theft and lying?
    25     A.   Yes.


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     1     Q.   Okay. And that was a case that your attorney talked
     2     about back when you were arrested and you pled guilty to; is
     3     that not true? Sir, it is a simple yes or no question. Sir,
     4     it is a simple yes or no question. Have you -- have you --
     5                 MR. RAMADAN: (In English) Can you repeat the
     6     question?
     7     BY MR. WATERSTREET:
     8     Q.   Have you been convicted and is that the crime that your
     9     attorney talked about before that you lied and got something
    10     that you were not entitled to? Simple yes or no.
    11     A.   No.
    12                 THE COURT: Counsel, when was this?
    13                 MR. WATERSTREET: This was -- excuse me, Your
    14     Honor. This was in --
    15     BY MR. WATERSTREET:
    16     Q.   You pled guilty in June 11th, 2015?
    17                 MR. RAMADAN: (In English) For theft, not lying.
    18     BY MR. WATERSTREET:
    19     Q.   Well, the allegations were that you obtained items to
    20     which you were not entitled to by making false
    21     representations and statements; is that not true?
    22     A.   No, it was a misunderstanding. And they did not charge
    23     me by lying, only theft.
    24     Q.   The theft was that you took items -- well, actually you
    25     got money from the federal government for which you were not


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     1     entitled to by knowingly making false statements?
     2     A.   No.
     3                 MS. FITZHARRIS: Objection, Your Honor.
     4     Mr. Waterstreet has received an answer to the question
     5     whether he has been convicted of theft. That is the extent
     6     to which the rule -- you know, he's thoroughly impeached him
     7     on this. We don't need to go into the details and relitigate
     8     his prior conviction.
     9                 MR. WATERSTREET: I'm not seeking to relitigate it,
    10     Judge. I'm trying to get a straight answer from the man.
    11                 THE COURT: Correct. Overruled.
    12     BY MR. WATERSTREET:
    13     Q.   I'm going to show you what has been marked as
    14     Government's Proposed Exhibit U-1. Can you take a look at
    15     that, please. Do you recognize that document? Do you
    16     recognize that document?
    17     A.   I don't remember it.
    18     Q.   It says People of the State of California vs.
    19     Yousef Mohammed Ramadan. Is that you?
    20     A.   Yes.
    21     Q.   Okay. And your date of birth is 10/19/88?
    22     A.   Yes.
    23     Q.   Okay. And let me just back up a second. You are not a
    24     born citizen here in the United States, are you?
    25                 MS. FITZHARRIS: Objection; this is now going into


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     1     questions about naturalization.
     2                   MR. WATERSTREET: Judge, I'm not going into
     3     naturalization.
     4                   THE COURT: Overruled.
     5     BY MR. WATERSTREET:
     6     Q.     You are from Palestine originally, correct?
     7     A.     Right.
     8     Q.     And you're Palestinian, correct?
     9     A.     I am American now.
    10     Q.     But when you were born you grow up as a Palestinian,
    11     correct?
    12     A.     Right.
    13     Q.     Okay. Did you live in the Gaza Strip or the West Bank?
    14     A.     The West Bank.
    15     Q.     Are you WB.88, West Bank 88, is that what that stands
    16     for?
    17     A.     Yes.
    18     Q.     Okay. That's you?
    19     A.     That's YouTube channel.
    20     Q.     Okay. And that's you?
    21     A.     That's my channel, yes.
    22     Q.     That's your channel?
    23                   MR. RAMADAN: (In English) Yeah.
    24     BY MR. WATERSTREET:
    25     Q.     So you were charged with the allegations in that offense


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     1     and you had a preliminary examination, did you not? There
     2     was a hearing, people testified, laid out the facts of the
     3     case, your attorney had a chance to cross-examine them?
     4     A.   So this -- on that court?
     5     Q.   Yes.
     6                 MR. RAMADAN: (In English) This Court?
     7     BY MR. WATERSTREET:
     8     Q.   No, no, back in California, the Superior Court of
     9     California.
    10     A.   They were, like, no witnesses.
    11     Q.   You mean, your wife didn't testify at that hearing?
    12     A.   I don't remember.
    13     Q.   We will see if I can refresh your memory.
    14                 THE COURT: Counsel, why are we going into what
    15     happened at that hearing?
    16                 MR. WATERSTREET: I'm just asking him if he
    17     remember the events and if this can help refresh his memory
    18     as to what the allegations were.
    19     BY MR. WATERSTREET:
    20     Q.   Go ahead and take a look at --
    21                 MS. FITZHARRIS: Your Honor, these are allegations.
    22     We continue to objection. These are allegations, these are
    23     not the elements that he plead guilty to, this is not his
    24     plea agreement or any plea colloquy. These are not facts
    25     that he has admitted to committing.


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     1                MR. WATERSTREET: I will get to the facts that he
     2     admitted to in a moment. I just want to make sure we are
     3     still talking about the right case because he said first of
     4     all he didn't remember this case, and then I have been able
     5     to get him to acknowledge.
     6     BY MR. WATERSTREET:
     7     Q.   You were, in fact, charged with grand theft by making
     8     false statements under oath, correct?
     9     A.   What I understood from that case is that it was just
    10     theft.
    11     Q.   That you made false statements to Social Security
    12     Administration in order to get money for your children
    13     claiming that they were here in the United States when, in
    14     fact, they were living overseas. Isn't that --
    15                MS. FITZHARRIS: Objection, Your Honor. The facts
    16     of his prior conviction are irrelevant. These are the
    17     charges --
    18                THE COURT: The question --
    19                MS. FITZHARRIS: -- not the fact that he plead
    20     guilty to.
    21                THE COURT: Yes, but the question of whether he
    22     lied is relevant. Overruled.
    23                MR. WATERSTREET: Correct.
    24     A.   So what is the question?
    25


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     1     BY MR. WATERSTREET:
     2     Q.   The question is: Isn't the charges that you made false
     3     statements claiming that your children were living here in
     4     the United States when, in fact, they were living overseas,
     5     and you made statements under the penalty of perjury saying
     6     they lived here and you collected money saying that they were
     7     living here?
     8     A.   They misunderstood the case. I never lied.
     9     Q.   Okay. But you pled guilty to that offense, didn't you?
    10     You plead --
    11     A.   For theft.
    12     Q.   -- guilty to the lesser included offense because of the
    13     amount of money, they cut the amount of money that you owed,
    14     but it was based upon the fact that you made false statements
    15     claiming that your children were living in the United States
    16     when, in fact, they were living overseas and you did so under
    17     penalty of perjury, did you not?
    18     A.   Can you repeat it one more time?
    19     Q.   Sure. The fact of the matter is you pled guilty to the
    20     lesser included offense of making false statements under
    21     penalty of perjury in order to collect money from the
    22     United States claiming that your children were living here in
    23     the United States when, in fact, they were living overseas;
    24     isn't that what happened?
    25     A.   I never pled guilty for lying. I did plead guilty for


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     1     theft, and they were going to -- they -- they were going
     2     to -- even drop the charges, everything, without a
     3     misdemeanor.
     4     Q.   The theft was because you were not entitled to the money
     5     because you made false statements in order to obtain that
     6     money?
     7                 MS. FITZHARRIS: Objection; argumentative, asked
     8     and answered.
     9                 THE COURT: Sustained. Let's move along.
    10     BY MR. WATERSTREET:
    11     Q.   Did you make a statement under penalty of perjury --
    12                 MS. FITZHARRIS: Same objection.
    13     BY MR. WATERSTREET:
    14     Q.   -- to the allegations that between on or about
    15     April 13th, 2011 and June 6th, 2013 you obtained money for
    16     which you were not entitled to because you knowingly made
    17     false statements?
    18                 MS. FITZHARRIS: Objection; asked and answered.
    19                 MR. WATERSTREET: That has not been asked, Your
    20     Honor.
    21                 THE COURT: I will take the answer.
    22                 MR. RAMADAN: (In English) Can you repeat the
    23     question?
    24     A.   Can you repeat the question?
    25


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     1     BY MR. WATERSTREET:
     2     Q.   Isn't it true that you plead guilty to an offense that
     3     occurred between April 13th, 2011 and June 6th, 2013 by
     4     obtaining money for which you were not entitled to because
     5     you knowingly made false statements?
     6     A.   Guilty just for theft, not other things.
     7     Q.   Well, let's go into that theft and other things. You --
     8     here is Government's Proposed Exhibit U-2. Tell me if you
     9     recognize this? This is your plea agreement, is it not?
    10                MR. RAMADAN: (In English) Guilty charge in what?
    11     Count 1, guilty Count 1, there's two counts.
    12     A.   Guilty only in Count 1, not two counts.
    13     BY MR. WATERSTREET:
    14     Q.   I understand that. Count 1 says that on or about
    15     between April 13th, 2011 and June 6th, 2013, you unlawfully
    16     obtained monies to which you were not entitled?
    17                MS. FITZHARRIS: Objection, that's actually not
    18     what it says.
    19                MR. WATERSTREET: Okay.
    20                THE COURT: I'm reading it. You can read it
    21     directly from the charge.
    22     BY MR. WATERSTREET:
    23     Q.   Okay. Take and steal money and personal property from
    24     Social Security Administration?
    25                MR. RAMADAN: (In English) When?


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     1     A.   Where does it say that?
     2     BY MR. WATERSTREET:
     3     Q.   Go to the second page on U-1, go back to U-1, the other
     4     document -- the first document I handed to you. Go to the
     5     second page. Count 1.
     6                 MR. RAMADAN: (In English) I wasn't guilty on this
     7     paper, I was guilty after.
     8     A.   So in this paper I wasn't guilty, it was after. In this
     9     paper here it has two felonies.
    10     BY MR. WATERSTREET:
    11     Q.   Correct, and you plead guilty to one of them -- you
    12     plead guilty to one of the crimes?
    13     A.   Guilty for misdemeanor, not felony.
    14     Q.   I understand that. You plead guilty to Count 1 and they
    15     reduced it to let you plead guilty to a misdemeanor but the
    16     crime is still the same; you took money for which you were
    17     not entitled to because you made a false statement?
    18                 MS. FITZHARRIS: Objection; this has been asked and
    19     answered.
    20                 MR. WATERSTREET: No, it has not been answered.
    21                 THE COURT: It hasn't been answered but its gone
    22     over enough. I think it is clear what's on the papers
    23     whether he admits it or not.
    24                 MS. FITZHARRIS: Your Honor, the convictions speaks
    25     for themselves. If the government wants to move to admit


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     1     these exhibits --
     2                THE COURT: Okay. Let's get one final yes or no.
     3     Okay. One final question.
     4     A.   So I wasn't lying, it was a misunderstanding, and the
     5     guilty for theft.
     6     BY MR. WATERSTREET:
     7     Q.   There is no misunderstanding, you. Say I accept -- I
     8     accepted Social Security funds when not entitled to them in
     9     excess of $950?
    10                MS. FITZHARRIS: Objection, Your Honor.
    11     Mr. Ramadan has admitted that he plead guilty to a
    12     misdemeanor count as shown in U-2.
    13     BY MR. WATERSTREET:
    14     Q.   And you --
    15                THE COURT: What's the question?
    16     BY MR. WATERSTREET:
    17     Q.   And you swore this under oath to a judge, right?
    18                MR. RAMADAN: (In English) For theft.
    19     A.   For theft.
    20     Q.   Right, that I accepted Social Security --
    21                MS. FITZHARRIS: Objection, Your Honor; this has
    22     been asked and answered.
    23                THE COURT: Sustained, sustained.
    24                MR. WATERSTREET: And since counsel agreed to allow
    25     the government to move to introduce, I will move to introduce


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     1     U-1, U-2, and U-3, which is the reporter's transcript, and
     2     U-4?
     3                MS. FITZHARRIS: I do not have U-3.
     4                MR. WATERSTREET: I will give it to you right now,
     5     Counsel.
     6                MS. FITZHARRIS: I do not agree without seeing it,
     7     I said I would agree to the admission of the guilty plea.
     8                MR. WATERSTREET: Well, U-3 is the guilty plea, it
     9     is the transcript.
    10                MS. FITZHARRIS: U-2 is my understanding is the
    11     plea of guilty.
    12                MR. WATERSTREET: That's the guilty plea agreement,
    13     and U-3 is the actual transcript of the proceedings.
    14                MS. FITZHARRIS: Your Honor --
    15                THE COURT: What is U-8 then? That's the
    16     preliminary exam. Are you moving for that?
    17                MR. WATERSTREET: Preliminary examination outlines
    18     the substance of the charges in which he made false
    19     statements, his children were living overseas, he went in --
    20                MS. FITZHARRIS: Objection to the narrative. Okay.
    21     Mr. Waterstreet wants to go into the details of these
    22     charges. It is completely improper. All right. We agree to
    23     the admission of Mr. Ramadan's guilty plea. The preliminary
    24     examination, that are not proven charges, that are not facts,
    25     we do not agree to the admission of that transcript that


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     1     Mr. Ramadan agreed to. What we agreed to is his guilty plea.
     2                THE COURT: All right. I will allow U-1, U-2, U-3,
     3     but not U-8.
     4                MR. WATERSTREET: That would be U-4, I believe,
     5     Your Honor.
     6                THE COURT: You put down here U-8.
     7                MR. WATERSTREET: My apologies, you are absolutely
     8     right. It is U-8. My apologies.
     9                MS. FITZHARRIS: U-8 is preliminary transcript?
    10                MR. WATERSTREET: Yes, the preliminary examination
    11     transcript.
    12                MS. FITZHARRIS: And that's not admitted?
    13                THE COURT: That's not admitted.
    14                MR. WATERSTREET: Okay.
    15                (Government's Exhibits U-1, U-2, U-3 received into
    16                evidence.)
    17     BY MR. WATERSTREET:
    18     Q.   Now, I want to go into -- and since you've acknowledged
    19     that you lied in order to get those items, have you -- you
    20     are now --
    21                MS. FITZHARRIS: Objection to the characterization;
    22     argumentative.
    23                MR. WATERSTREET: May I proceed, Your Honor?
    24                THE COURT: You may proceed.
    25


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     1     BY MR. WATERSTREET:
     2     Q.   Are you a reformed liar?
     3                 MS. FITZHARRIS: Objection; argumentative.
     4                 THE COURT: It is argumentative, Counsel. Move
     5     along.
     6     A.   So what is your question?
     7     BY MR. WATERSTREET:
     8     Q.   My question is, are you continuing to lie under oath or
     9     are you telling the truth today?
    10                 MS. FITZHARRIS: Objection; argumentative.
    11                 THE COURT: He can answer that question if he's
    12     telling the truth today.
    13     A.   I never lied under oath.
    14     BY MR. WATERSTREET:
    15     Q.   Okay. Now, I just want to get a few facts squared away,
    16     if I may. You testified on direct examination that the
    17     16 bags that were searched by CBP, those belonged to you,
    18     correct?
    19     A.   15.
    20     Q.   15. I'm sorry. 15. Those belonged to you, correct?
    21     A.   Yes.
    22     Q.   Okay. And you and your family were all flying out of
    23     the United States to fly to Jordan, correct?
    24     A.   Right.
    25     Q.   And you checked them knowing you were going on an


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     1     international flight, correct?
     2     A.   Checked them to whom?
     3     Q.   Checked them to the airlines, to Royal Jordanian
     4     Airlines to put in the plane to take with you?
     5     A.   Yes.
     6     Q.   And that included your external hard drives, correct?
     7     A.   No.
     8     Q.   Okay. Your external hard drives you kept with you with
     9     your carry-on luggage?
    10                 MR. RAMADAN: (In English) In my backpack.
    11     A.   In my backpack.
    12     BY MR. WATERSTREET:
    13     Q.   And that was your external hard drive?
    14     A.   Yes.
    15     Q.   You testified earlier that you are the one that
    16     downloaded information onto that external hard drive?
    17     A.   Right.
    18     Q.   Okay. So as part of your direct examination you talked
    19     about a number of things, and I want to go over those with
    20     you for a moment here, if that's okay with you.
    21     A.   Yes, that's fine.
    22     Q.   Okay. One of the things you testified to was the fact
    23     that because you -- you knew the police officers had
    24     firearms. That mere fact -- the mere presence of those
    25     firearms coerced you into answering their questions?


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     1                 MS. FITZHARRIS: Objection; that's a
     2     mischaracterization of Mr. Ramadan's testimony.
     3                 MR. WATERSTREET: I'm asking him the question, Your
     4     Honor, to clarify it if I misunderstood.
     5                 THE COURT: All right. I will allow him to answer
     6     that.
     7                 MR. RAMADAN: (In English) Can you repeat the
     8     question?
     9     BY MR. WATERSTREET:
    10     Q.   You testified that you knew the police officers or the
    11     agents had firearms, correct?
    12     A.   Yes.
    13     Q.   And the mere fact that they had those firearms with them
    14     was coercive to you that forced you to answer the questions;
    15     is that true?
    16     A.   This is one of many reasons.
    17     Q.   Okay. The mere fact that they had firearms on their
    18     person, whether visible or not visible, was coercive to you?
    19                 THE INTERPRETER: Interpreter wants to ask you if
    20     you can rephrase the word coercive, please.
    21     BY MR. WATERSTREET:
    22     Q.   You understand my question, Mr. Ramadan, don't you?
    23                 MR. RAMADAN: (In English) No, I didn't understand
    24     this question.
    25


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     1     BY MR. WATERSTREET:
     2     Q.     Okay. The mere fact they had firearms, whether you can
     3     see them or not, caused you to say things you didn't want to
     4     say, you were scared?
     5     A.     This is one of the reasons.
     6     Q.     Well, I understand it is one of the reasons but that is
     7     what you said, correct?
     8                   MS. FITZHARRIS: Objection, asked and answered.
     9                   THE COURT: Just a minute, just a minute.
    10     A.     This is one of reasons.
    11                   THE COURT: Just a minute. He said it is one of
    12     the reasons. You said the mere fact, and that makes it like
    13     an exclusive reason.
    14                   MR. WATERSTREET: Well, all right. I will see if I
    15     can rephrase it.
    16     BY MR. WATERSTREET:
    17     Q.     One of the reasons was just because they happen to have
    18     guns whether you could see them or not, you were scared and
    19     it kind of forced you to say something you didn't want to
    20     say?
    21     A.     This is one of the reasons.
    22     Q.     Okay. Is that yes or no?
    23     A.     Yes.
    24     Q.     Okay.
    25                   MR. RAMADAN: (In English) That's one of the


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     1     reason.
     2     BY MR. WATERSTREET:
     3     Q.   I understand --
     4     A.   This is one of reason.
     5     Q.   I understand that.
     6     A.   And which is Guantanamo too.
     7     Q.   I have listened to everything you have said. I just
     8     wanted to make sure I understood what you were saying.
     9                MS. FITZHARRIS: Objection; he's arguing with
    10     Mr. Ramadan.
    11                THE COURT: Okay. Listen, listen, this has to be
    12     by question and answer. So you ask your question, you answer
    13     just the question he asks. He's not asking about other
    14     things, don't volunteer anything, just answer the question.
    15     Okay.
    16                MR. WATERSTREET: Thank you, Your Honor. I
    17     appreciate that.
    18     BY MR. WATERSTREET:
    19     Q.   So I want to make sure I understand. Just because
    20     somebody had a gun nearby, whether you could see it or not,
    21     was one of reasons why you felt you had to talk to the
    22     police?
    23     A.   I did see it. Yes, that's -- that was one of the
    24     reasons. I did see it.
    25     Q.   Okay. You saw everybody's gun?


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     1                MR. RAMADAN: (In English) Most of them.
     2     A.   Most of them.
     3     BY MR. WATERSTREET:
     4     Q.   Okay. What kind of gun did Agent Kelley have?
     5     A.   Black gun.
     6     Q.   A black gun. What kind of gun? You are very familiar
     7     with guns, aren't you?
     8                MS. FITZHARRIS: Objection, argumentative.
     9     A.   I don't know.
    10     BY MR. WATERSTREET:
    11     Q.   So did you see --
    12                MR. RAMADAN: (In English) It's been a long time.
    13     A.   It's been a long time.
    14     BY MR. WATERSTREET:
    15     Q.   What kind of gun did Agent Thomas have?
    16                MR. RAMADAN: (In English) Same thing, it's been a
    17     long time.
    18     A.   Same thing, it's been a long time.
    19     BY MR. WATERSTREET:
    20     Q.   So your memory is fading a little bit now; your memory
    21     is not as good. You said you have memory problems. Your
    22     memory is not as good now?
    23                MR. RAMADAN: (In English) No. Can you repeat the
    24     question, please.
    25     A.   Can you repeat the question, please.


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     1     BY MR. WATERSTREET:
     2     Q.   My question was: What kind of gun did Agent Thomas
     3     have? And your answer was it's been a long time. And then I
     4     asked you --
     5                MS. FITZHARRIS: Objection, Your Honor. Allow
     6     Mr. Ramadan to answer the question.
     7                MR. WATERSTREET: I'm giving him --
     8                MR. RAMADAN: (In English) I don't know.
     9     A.   I don't know.
    10                THE COURT: Wait a minute. You don't know what?
    11                MR. RAMADAN: (In English) What kind of gun.
    12     A.   What kind of gun.
    13                THE COURT: All right. Move along, please.
    14     BY MR. WATERSTREET:
    15     Q.   What kind of gun did Officer Brown have?
    16                MR. RAMADAN: (In English) Same thing.
    17     A.   Same thing.
    18     BY MR. WATERSTREET:
    19     Q.   Same thing what --
    20     A.   I don't know.
    21     Q.   -- that it has been a long time or you don't know?
    22     A.   I don't know.
    23     Q.   Okay. But you have grown up around guns, have you not?
    24     A.   No.
    25     Q.   And you've brought up your whole family around guns,


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     1     have you not?
     2     A.   Recently when they grow up.
     3     Q.   So you've had your kids grow up around guns, correct?
     4     A.   Yes.
     5     Q.   Okay.
     6                 MR. RAMADAN: (In English) Supervised.
     7     A.   Supervised.
     8     BY MR. WATERSTREET:
     9     Q.   Supervised. Teach them how to load guns?
    10     A.   No.
    11     Q.   No?
    12                 MS. FITZHARRIS: Objection. What's the relevance
    13     of this?
    14     A.   Just to take pictures.
    15                 MR. WATERSTREET: The relevance was brought up by
    16     them, Your Honor. They were suggesting by the mere presence
    17     of guns the defendant's will somehow was overborne and he's
    18     unable to make decisions on his own.
    19                 MS. FITZHARRIS: We never argued that the mere
    20     presence of guns is the reason why his will was overborne, it
    21     was one of many factors and totality of circumstance.
    22                 THE COURT: Okay. Assuming it is one of many
    23     factors.
    24                 MR. WATERSTREET: I'm going through each factor.
    25                 THE COURT: Overruled.


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     1     BY MR. WATERSTREET:
     2     Q.     So my question was, you teach your children how to
     3     handle guns and load guns, haven't you?
     4     A.     Maybe one time or twice I showed it to them.
     5     Q.     Right. You and your wife actively encouraged your kids
     6     in teaching them how to handle guns and load guns, haven't
     7     you?
     8                   MS. FITZHARRIS: Objection, Your Honor; questions
     9     about the way --
    10                   THE COURT: Sustained.
    11                   MS. FITZHARRIS: Thank you.
    12     BY MR. WATERSTREET:
    13     Q.     Have you -- have you taught your children how to fire
    14     guns?
    15                   MS. FITZHARRIS: Same objection.
    16                   THE COURT: Sustained.
    17     BY MR. WATERSTREET:
    18     Q.     Now, another question that I wanted to ask you about is
    19     in several instances you said that the officers asked you for
    20     your pass code for your phone on August 15th and August 16th,
    21     2017?
    22     A.     Yes.
    23     Q.     And at every turn you said no?
    24     A.     Yes.
    25     Q.     You said no, I'm not going to give you my pass code for


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     1     my phone.
     2     A.   Or permission to any digital device to see it.
     3     Q.   Okay. And one of the reasons I think you pointed out is
     4     that as, Your Honor, as a Muslim you could never let them
     5     look at your phone because of the photos of your wife, the
     6     photos of your sister, the photos of your children, your
     7     personal information, your Social Security card, you could
     8     not -- you would rather die -- I think that was a quote --
     9     you said you would rather die then let that happen, right?
    10     A.   Yes.
    11     Q.   But didn't you also testify that you would give that all
    12     up, you would let them look at any picture they wanted as
    13     long as they promised you they wouldn't use it against you?
    14     A.   I will show him the picture.
    15     Q.   Okay. So you would --
    16                 MR. RAMADAN: (In English) Not show him the
    17     picture, I will make --
    18     A.   That he will -- so I will bring like a lady and will use
    19     the device in front of me.
    20     BY MR. WATERSTREET:
    21     Q.   Wait, wait, wait. We never heard any testimony about
    22     bringing a lady in or anything. You said if you sign a paper
    23     that says you give me immunity I will unlock it for you.
    24     That's what you said on direct examination, is that true,
    25     Mr. Ramadan?


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     1     A.   Right.
     2     Q.   Okay. Thank you.
     3     A.   But I will show it to him. Like he cannot enter the
     4     pictures to see my wife and personal stuff.
     5     Q.   When did you say that on direct examination? Did you
     6     say that on direct examination, sir? Yes or no. Sir, it is
     7     a simple yes or no. Did you say that on direct examination?
     8                MS. FITZHARRIS: Objection, Your Honor; allow him
     9     to answer the question.
    10                MR. WATERSTREET: I'm asking him to answer the
    11     question, Your Honor. It's a simple question or no.
    12     A.   No one asked me like this question --
    13                THE COURT: Just a minute. Let's see what he says.
    14     A.   -- the same way.
    15     BY MR. WATERSTREET:
    16     Q.   It's simple yes or no, sir. Did you --
    17     A.   No one asked me this way.
    18     Q.   And you did not offer that when you were asked by your
    19     attorney, that you said that as long as they gave you
    20     immunity you would unlock the phone, you never said that?
    21                MR. RAMADAN: (In English) Yes, yes.
    22     BY MR. WATERSTREET:
    23     Q.   Okay. Thank you.
    24                MR. RAMADAN: (In English) I would like to address
    25     this with my attorney.


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     1     A.   I would like to address --
     2     BY MR. WATERSTREET:
     3     Q.   You can address it with your attorney when the time
     4     comes.
     5                MR. DENSEMO: Excuse me, Your Honor. May I ask
     6     Mr. Ramadan if he's having difficulty with --
     7                MR. WATERSTREET: Your Honor --
     8                MR. DENSEMO: Excuse me, Mr. Waterstreet.
     9                MR. WATERSTREET: If I may, Your Honor?
    10                THE COURT: No. Let me hear his objection.
    11                MR. WATERSTREET: Well, the attorney --
    12                THE COURT: Let me hear his statement.
    13                MR. DENSEMO: May I or Ms. Fitzharris talk to
    14     Mr. Ramadan to see if he is -- if what he's expressing
    15     through the interpreter is being accurately conveyed to the
    16     Court?
    17                THE COURT: No, you may not speak with him at this
    18     point.
    19     BY MR. WATERSTREET:
    20     Q.   I want to go over an item here. And you explained from
    21     Government's Exhibit L-1 that this was the last that the
    22     agents asked you about when you were in the lobby area,
    23     correct?
    24     A.   Right.
    25     Q.   Is that correct?


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     1     A.   It is right.
     2     Q.   And on direct examination you testified that that
     3     photograph was some broken glass from your home in Israel,
     4     correct?
     5     A.   Palestine.
     6     Q.   Well, it is in the country of Israel but it is in the
     7     West Bank?
     8                 MR. RAMADAN: (In English) It is Palestine, West
     9     Bank.
    10     A.   It is in Palestine, West Bank.
    11     BY MR. WATERSTREET:
    12     Q.   My question was, was it in your home?
    13                 MR. RAMADAN: (In English) Yes.
    14     A.   Yes.
    15     BY MR. WATERSTREET:
    16     Q.   And where exactly is your home, what street is it on?
    17     A.   El Maahad (phonetic) Street.
    18     Q.   What?
    19     A.   El Maahad Street.
    20                 MS. FITZHARRIS: Objection; what's the relevance of
    21     this?
    22                 MR. WATERSTREET: I'm asking if he remembers
    23     specifically at that house having that photo taken.
    24                 THE COURT: Okay. Overruled.
    25                 MS. FITZHARRIS: How is this relevant to the


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      1    suppression questions?
      2                THE COURT: The photo is in, the Court is going to
      3    allow the answer.
      4                MR. WATERSTREET: Thank you, Your Honor.
      5    BY MR. WATERSTREET:
      6    Q.   Did you take that photograph?
      7    A.   Yes.
      8    Q.   Okay. Now, I'm going to show you L-3. Was this the
      9    photo of the pipe bomb that was shown to you by the agents on
    10     August 15th, August 16th, 2017?
    11     A.   I think so.
    12     Q.   What makes you think it is different? That's the photo,
    13     isn't it?
    14     A.   Yes.
    15     Q.   Okay. And where did -- and you testified on direct
    16     examination that you downloaded that picture from the
    17     internet?
    18     A.   That's right.
    19     Q.   Okay. And you downloaded that from the internet where?
    20     What --
    21                 MS. FITZHARRIS: Objection; relevance to the
    22     suppression questions.
    23                 MR. WATERSTREET: It goes to his credibility, Your
    24     Honor.
    25                 THE COURT: Overruled.


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      1    BY MR. WATERSTREET:
      2    Q.   Where did you download that from?
      3    A.   I forgot from where.
      4    Q.   Was it the same time that you took -- have the picture
      5    of the broken glass?
      6    A.   Maybe.
      7    Q.   Maybe. Was it the same day?
      8    A.   Could be. I don't remember.
      9    Q.   Okay. And you downloaded it while you were overseas or
    10     here in the United States?
    11     A.   In Bethlehem, overseas.
    12     Q.   At your home?
    13     A.   I don't remember where I did the -- the download.
    14     Q.   You sure about that?
    15     A.   Yes.
    16     Q.   You didn't do it here in the United States?
    17     A.   No.
    18     Q.   You didn't make this bomb?
    19     A.   No.
    20                 MR. WATERSTREET: May I have one moment, Your
    21     Honor?
    22                 (An off-the-record discussion was held at
    23                 2:59 p.m.)
    24     BY MR. WATERSTREET:
    25     Q.   And then did you print that off or how did that get onto


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      1    your hard drive?
      2               MS. FITZHARRIS: Objection, Your Honor. All of
      3    these questions about how he got this photo are irrelevant to
      4    the suppression questions.
      5               THE COURT: Overruled.
      6               MR. WATERSTREET: Thank you.
      7    BY MR. WATERSTREET:
      8    Q.   How did it get to your hard drive?
      9    A.   My brother uses -- uses my hard drive, but it is my hard
    10     drive.
    11     Q.   I thought earlier you testified that all the items that
    12     were on that hard drive belonged to you. Now you are saying
    13     this is somebody else's?
    14                THE COURT: Wait a minute. Let him answer the
    15     question. Okay.
    16     A.   No, not for someone else, it's mine.
    17     BY MR. WATERSTREET:
    18     Q.   Okay. So you just said your brother uses your hard
    19     drive. Did he download this photo?
    20     A.   I did the download.
    21     Q.   Okay. How did you do that?
    22     A.   On the internet.
    23                MS. FITZHARRIS: Objection; asked and answered, he
    24     said he didn't remember.
    25                THE COURT: Overruled.


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      1    BY MR. WATERSTREET:
      2    Q.   From the Internet. How did you accomplish that? Did
      3    you bring your hard drive with you from the United States all
      4    the way over to Bethlehem just to download a pipe bomb -- a
      5    photo of a pipe bomb?
      6    A.   I was there.
      7    Q.   No, you're not answering my question. Did you bring
      8    your hard drive all the way over from the United States all
      9    the way over to Bethlehem just to download a picture of a
    10     pipe bomb?
    11     A.   No.
    12     Q.   Okay. Then how did it get on to your hard drive?
    13     A.   I did the download. I did download it on my hard drive.
    14     Q.   Where?
    15     A.   In Bethlehem.
    16     Q.   So you brought your hard drive with you from the
    17     United States to Bethlehem?
    18     A.   I had more than hard drive, yes.
    19     Q.   Okay. And so it was placed on the hard drive while you
    20     were in Bethlehem, and you went on to the Internet,
    21     downloaded a photo, and had it copied to your hard drive?
    22                MS. FITZHARRIS: Objection; asked and answered.
    23                MR. RAMADAN: (In English) It's not a photo, it is
    24     a video.
    25     A.   It's not a photo, it is a video.


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      1                THE COURT: It has, Counsel. Let's move along.
      2    BY MR. WATERSTREET:
      3    Q.   It's a video?
      4                MR. RAMADAN: (In English) Yes. It is a not a
      5    photo, it's a video.
      6    A.   Yes, it's not a photo, it's a video.
      7                THE COURT: Wait a minute. What's a video?
      8    A.   This is a picture but it's taken from a video.
      9    BY MR. WATERSTREET:
    10     Q.   And it's a video that you watched in Bethlehem, and you
    11     then brought your hard drive with you to Bethlehem and
    12     downloaded --
    13                 MS. FITZHARRIS: Objection; it has been asked and
    14     answered.
    15                 MR. WATERSTREET: I just want to make sure.
    16                 THE COURT: No. It has been asked and answered
    17     several times.
    18     BY MR. WATERSTREET:
    19     Q.   Okay. You did not use an Apple phone to make a picture
    20     of that item?
    21                 MS. FITZHARRIS: Same objection; asked and
    22     answered.
    23                 MR. WATERSTREET: Well, no.
    24                 THE COURT: Overruled. This is different.
    25


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      1    BY MR. WATERSTREET:
      2    Q.   You didn't take an Apple phone and take a video with an
      3    Apple phone and create a video, did you?
      4    A.   No.
      5               MR. WATERSTREET: Your Honor, may I come sidebar
      6    please with counsel?
      7               (Sidebar conference held on the record at 3:04 p.m.
      8               as follows:
      9               MR. WATERSTREET: Your Honor, my fear is the
    10     defendant has committed perjury as to this -- this area, and
    11     I was going to -- about to impeach him with that. This item
    12     here, L-1, is a photo of the glass, this is the metadata that
    13     I have shared with defense as part of the forensic analysis
    14     that was provided to them. This shows that this is a
    15     photograph that was taken and the equipment that was used to
    16     take that. And that it -- and it also has the longitude and
    17     latitude for that location.
    18                This is the picture of the pipe bomb. This is the
    19     information concerning -- the metadata concerning that, and
    20     it was taken a few days later using a model iPhone5, and that
    21     it was the same longitude and latitude, the exact same
    22     location of both the bomb and the broken glass, and that
    23     comes back to the area in which he said that he lives in
    24     Bethlehem, the longitude and latitude.
    25                So my fear is that he has committed perjury by


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      1    claiming that this is not a pipe bomb that --
      2               MR. DENSEMO: He didn't say it was a pipe bomb. We
      3    were talking about the location.
      4               MR. WATERSTREET: The pipe bomb that was taken from
      5    his place in Bethlehem.
      6               MR. DENSEMO: The question, Your Honor, was the
      7    item downloaded or was the picture taken in Bethlehem.
      8               MR. WATERSTREET: It says in -- the metadata says
      9    specifically the time stamp the and longitude and latitude.
    10                THE COURT: You can go ahead and impeach him. We
    11     are not doing anything with perjury at this point unless he
    12     takes the Fifth. Do you need to talk to him about that?
    13                MR. DENSEMO: Yes.
    14                MR. WATERSTREET: I might suggest that, that's why
    15     I brought it to the Court's attention.
    16                THE COURT: We will let you talk to him right now.
    17                MR. DENSEMO: Thank you.
    18                (Sidebar conference concluded at 3:06 p.m.)
    19                (An off-the-record discussion was held at 3:11 p.m.
    20                between defense counsel and defendant.)
    21                THE COURT: All right. For the record, the Court
    22     has allowed counsel to speak with Mr. Ramadan. All right.
    23     Mr. Densemo.
    24                MR. DENSEMO: Your Honor, at this point we can
    25     continue with the questioning. I anticipate Mr. Ramadan,


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      1    after having spoken with counsel and reviewing the
      2    document --
      3               THE COURT: I'm sorry, you are blocked out.
      4               MR. DENSEMO: After having reviewed the documents
      5    and spoken to counsel, we have instructed Mr. Ramadan to
      6    answer the questions truthfully and if he doesn't recall
      7    certain information to indicate to the U.S. Attorney that he
      8    doesn't recall, but not to guess or speculate about what he
      9    knows or remembers.
    10                THE COURT: All right. You may continue.
    11                MR. WATERSTREET: Okay.
    12     BY MR. WATERSTREET:
    13     Q.   Mr. Ramadan, I want to ask you a few other things here.
    14     Now, the -- today -- the first day of your testimony was not
    15     all completely accurate, correct?
    16     A.   I tried --
    17     Q.   It's a simple yes or no.
    18     A.   I tried the best I can.
    19                THE DEFENDANT: Yes, it is true.
    20     A.   Yes, it is true.
    21     BY MR. WATERSTREET:
    22     Q.   Okay. So what was the reason to make the correction at
    23     the beginning of the hearing today?
    24     A.   Because that picture I don't remember if I did download
    25     it or not, the video.


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      1    Q.   You may have taken that video?
      2                MS. FITZHARRIS: Objection, Your Honor. It appears
      3    Mr. Ramadan is not understanding the question. Can
      4    Mr. Waterstreet ask it again?
      5                THE COURT: Wait a minute. Are you asking for him
      6    to ask the question again?
      7                MS. FITZHARRIS: Yes.
      8                MR. DENSEMO: He's answering --
      9                MS. FITZHARRIS: His answer is nonresponsive to the
    10     question.
    11                 THE COURT: Well, that's the asker's objection.
    12     Overruled. Go ahead.
    13     BY MR. WATERSTREET:
    14     Q.   So you may have taken the video?
    15     A.   I don't recall it.
    16                 MR. RAMADAN: (In English) I don't remember.
    17     A.   I don't remember.
    18     BY MR. WATERSTREET:
    19     Q.   And yesterday's testimony -- at the very beginning of
    20     today's hearing your attorney went back and basically
    21     clarified that the information you provided in the first day
    22     of testimony was not accurate?
    23                 MS. FITZHARRIS: Objection; mischaracterization of
    24     what happened.
    25


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      1    BY MR. WATERSTREET:
      2    Q.   As to who did what, who said what, things of that
      3    nature.
      4                THE COURT: Wait a minute. Wait a second. I'm not
      5    understanding it. What are you referring to?
      6                MR. WATERSTREET: Your Honor, at the beginning of
      7    the proceedings this morning, defense counsel asked
      8    Mr. Ramadan if everything he said was correct yesterday, and
      9    then started going over --
    10                 THE COURT: Specific items.
    11                 MR. WATERSTREET: -- specific items.
    12     A.   Yes.
    13     BY MR. WATERSTREET:
    14     Q.   Okay. Is that a memory problem that you have?
    15     A.   Yes, I have.
    16     Q.   Does it come and go?
    17                 MS. FITZHARRIS: Objection; argumentative.
    18                 MR. WATERSTREET: No, it is --
    19                 THE COURT: Overruled.
    20     BY MR. WATERSTREET:
    21     Q.   Does it come and go?
    22     A.   No.
    23     Q.   Okay. So it's a constant problem that you have?
    24     A.   It's been a while but now with names and numbers.
    25     Q.   Okay. I'm not sure I understand that answer.


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      1               MR. RAMADAN: (In English) Is it the same question?
      2    A.   Is it the same question.
      3               MS. FITZHARRIS: Is there a question?
      4               MR. RAMADAN: (In English) Is that a question?
      5    A.   Is that a question?
      6    BY MR. WATERSTREET:
      7    Q.   I'm not sure I understand your answer, sir. Do you have
      8    a problem that comes and goes with your memory?
      9    A.   It was little things like numbers.
    10     Q.   Only numbers?
    11     A.   Little things.
    12     Q.   What little things?
    13                THE COURT: Counsel, please, it's so general.
    14     Let's move along.
    15                MR. WATERSTREET: Thank you, Your Honor.
    16     BY MR. WATERSTREET:
    17     Q.   I wanted to talk to you about the claim you made of what
    18     happened with Officer Brown in which you were handcuffed and
    19     struck, your hair was pulled, and your ear was pulled. I'm
    20     taking you to that time -- time of that evening. Okay.
    21                MR. RAMADAN: (In English) Okay.
    22     BY MR. WATERSTREET:
    23     Q.   They didn't ask you any more questions about where your
    24     guns were or anything like that after that, did they?
    25     A.   What questions, about the guns or what?


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      1    Q.   That's what I just said. They didn't ask you any more
      2    questions about where your guns were or anything after
      3    Officer Brown purportedly did this?
      4    A.   No.
      5    Q.   Okay. So let's talk about that storage locker. You
      6    mentioned that storage locker when you were with Armentrout
      7    and Schmeltz when you were first interviewed, did you not?
      8    That's where your guns were?
      9    A.   Yes.
    10     Q.   Okay. And you also made that same statement when you
    11     were in the conference room when you were with Agents Thomas,
    12     Brown, Kelley and Schmeltz, correct? They asked you about
    13     the guns?
    14     A.   Yes.
    15     Q.   And then at the end of the night you changed your story
    16     and said that they were not at the storage locker but instead
    17     they were with a friend?
    18     A.   Yes.
    19     Q.   Okay. Which one of those two are the lie?
    20     A.   So for my own safety I lied and said that it -- said
    21     that my friend's -- the second one.
    22     Q.   Okay. So the truth was they were, in fact, at the
    23     storage locker the whole time you told them the truth about
    24     that?
    25     A.   Yes.


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      1    Q.   But then you lied at the very end?
      2    A.   Yes.
      3    Q.   And during the testimony defense counsel introduced
      4    Defendant's Exhibit G, which is a video of you having a
      5    search warrant executed at your home, correct?
      6    A.   Yes.
      7    Q.   And you said that you were thinking about that incident
      8    at the time in which the police were talking to you on
      9    August 15th and 16th, and that whole incident was in your
    10     mind at that time. Am I correct?
    11     A.   Yes.
    12     Q.   Okay. And what was happening is -- you were living in
    13     Chula Vista at the time, weren't you?
    14     A.   Yes.
    15     Q.   The Chula Vista Police Department were executing a
    16     search warrant for a stolen AR15 that --
    17     A.   Not in this video, no.
    18     Q.   But they did execute a search warrant at your house for
    19     an AR15, did they not, a stolen AR15?
    20     A.   After that, after that.
    21     Q.   And that stolen AR15, and a firearm of that nature is a
    22     very dangerous weapon, is it not?
    23     A.   Only --
    24                 MS. FITZHARRIS: Your Honor, we object.
    25     Mr. Ramadan said they were not looking for an AR15 at the


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      1    time.
      2                THE COURT: Yes. I want to ask a question about
      3    that. You said after that. Were there two search warrants
      4    for your house, Mr. Ramadan?
      5                MR. RAMADAN: (In English) No.
      6    A.   No.
      7                MR. RAMADAN: (In English) Just one --
      8    A.   Just one time when I was like -- I was on probation, I
      9    wanted to buy a gun, so they thought that I was on -- I have
    10     a felony, that's why they came to my house, not because of
    11     the AR15.
    12     BY MR. WATERSTREET:
    13     Q.   You mean a judge did not issue a search warrant saying
    14     that they believed that you were in possession of a stolen
    15     AR15 for the execution of that search warrant, is that what
    16     you are saying?
    17     A.   Not -- not on -- in this video.
    18     Q.   So you never had a search warrant executed at your home
    19     searching for a stolen AR15? Yes or no.
    20     A.   They came to my house after this to search for AR15, but
    21     I wasn't sure if they had a warrant to search.
    22                 THE COURT: So they had two -- you had two searchs
    23     of your house?
    24     A.   Yes.
    25


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      1    BY MR. WATERSTREET:
      2    Q.   And what you were really thinking about that night is
      3    the fact that you had that stolen AR15 --
      4               MS. FITZHARRIS: Objection; argumentative.
      5    BY MR. WATERSTREET:
      6    Q.   -- sitting in that storage locker and that is why you
      7    told the officers that it was at your friend's house and not
      8    in the storage locker; isn't that true?
      9               THE COURT: The objection is what?
    10                MS. FITZHARRIS: Argumentative.
    11                MR. WATERSTREET: No.
    12                THE COURT: Overruled.
    13     BY MR. WATERSTREET:
    14     Q.   Isn't that the reason why you told them no, it is at my
    15     friend's house because you realize that the stolen AR15 that
    16     the police were looking for out in Chula Vista were sitting
    17     in your storage locker and you didn't want them to find it?
    18     A.   No. First of all, they did not find an AR15.
    19                MR. RAMADAN: (In English) They found parts.
    20     A.   They found parts.
    21                MS. FITZHARRIS: Objection. This is getting way
    22     beyond the scope of -- this is getting into potential
    23     criminal activities that the government has threatened to
    24     charge Mr. Ramadan with, and it is also beyond the scope of
    25     this suppression hearing.


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      1               MR. WATERSTREET: No, it is not, Your Honor. He
      2    was explaining the whole purpose of changing his story
      3    because of being overborne by the activity that the agents
      4    were involved in. His changing the story has to do with the
      5    fact that he knew criminal evidence was sitting in his
      6    storage locker that he did not want them to find.
      7               MS. FITZHARRIS: Whether his will was overborne is
      8    a different question than why he changed his story.
      9               MR. WATERSTREET: That's for this Court to decide,
    10     Your Honor.
    11                THE COURT: Overruled. Go you ahead.
    12     BY MR. WATERSTREET:
    13     Q.   I'm going to show you what has been marked as
    14     Government's Proposed Exhibit B-1. Have you ever seen that
    15     before?
    16     A.   No.
    17     Q.   You've never seen that before.
    18                I'm going to show you what has been marked as
    19     Government's Exhibit Proposed B-2. Have you ever seen that
    20     object before?
    21                MS. FITZHARRIS: Your Honor, can we see a copy of
    22     the photos they are handing Mr. Ramadan?
    23                THE COURT: Yes.
    24                MR. WATERSTREET: I'm sorry.
    25


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      1    BY MR. WATERSTREET:
      2    Q.   Do you recognize B-2?
      3    A.   Maybe the handle.
      4    Q.   It is circled. Okay.
      5                And B-3, do you recognize that?
      6    A.   Yes, I saw a picture close to it. I saw a lot.
      7    Q.   And this is the picture that the police were provided by
      8    the owner of the gun?
      9                MS. FITZHARRIS: I'm going to object because lack
    10     of personal knowledge.
    11                 MR. WATERSTREET: Well, we can --
    12                 THE COURT: Okay. Your comment is what -- your
    13     response?
    14                 MR. WATERSTREET: He can answer the question
    15     whether he knows or not, Judge.
    16                 THE COURT: If he's seen the picture before.
    17                 MS. FITZHARRIS: The question was this is the
    18     picture the owner of the gun gave the government.
    19                 THE COURT: Right, that would be struck at this
    20     time, but whether he has seen it before he can answer.
    21     BY MR. WATERSTREET:
    22     Q.   Have you seen that picture before?
    23     A.   Same picture, no.
    24     Q.   Okay. I'm going to show you B-4, the objects that was
    25     seized from your storage locker. Have you seen that before?


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      1    A.    Yes.
      2    Q.    Here is a close up, B-5. Have you seen that before?
      3    A.    Yes.
      4    Q.    Do me a favor, will you compare B-3 with B-5?
      5                 MS. FITZHARRIS: Objection, Your. Honor, this is
      6    completely irrelevant to the suppression issue. This is the
      7    subject of the suppression. They found this -- they found
      8    these items in his storage locker, so the questions about
      9    these are completely irrelevant if the evidence is
    10     suppressed, and it is only going into potential criminal
    11     activity the government is threatened to charge Mr. Ramadan
    12     with.
    13                  MR. RAMADAN: (In English) Are these different?
    14     A.    These are different.
    15                  THE COURT: Just a minute. Your response?
    16                  MR. WATERSTREET: Your Honor, this goes directly to
    17     his credibility as to why he told the agents the different
    18     story, and it had nothing to do with being overbroad.
    19                  THE COURT: Overruled.
    20                  MS. FITZHARRIS: This has nothing to do with what
    21     Mr. Ramadan said at the airport.
    22                  THE COURT: Overruled. I will take it now. Let's
    23     go.
    24                  MR. RAMADAN: (In English) So what's the question?
    25     A.    So what is the question?


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      1    BY MR. WATERSTREET:
      2    Q.     I'm looking at B-3 and 5. Do those look the same to
      3    you?
      4    A.     A little bit.
      5    Q.     A little bit?
      6    A.     A little bit.
      7    Q.     Let's take a look at each one here side by side.
      8               MS. FITZHARRIS: Objection, Your Honor. You can
      9    look at the photos yourself and decide if they look the same.
    10                THE COURT: Sustained. He's already answered.
    11                MR. WATERSTREET: Move for the admission, Your
    12     Honor, of --
    13                MS. FITZHARRIS: We object to the admission of
    14     these photos for all the reasons stated.
    15                THE COURT: Based on your reasons stated, but the
    16     Court will accept them, except I don't know what is B-1?
    17                MR. WATERSTREET: B-1 is a photograph of the weapon
    18     that was produced by the owner of the firearm.
    19                THE COURT: Well, wait a second. You can't put
    20     that in --
    21                MR. WATERSTREET: I will -- if I need to, Your
    22     Honor, I will bring an agent up here to testify to that.
    23                MS. FITZHARRIS: That would be --
    24                THE COURT: I mean, you just can't say that's what
    25     it is. You can't testify, so I'm not going to allow B-1.


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      1               MR. WATERSTREET: Okay. Your Honor, I will have an
      2    agent --
      3               MS. FITZHARRIS: Again, objection; whether or not
      4    the owner provided this photo is completely irrelevant to the
      5    suppression issue.
      6               THE COURT: Overruled.
      7    BY MR. WATERSTREET:
      8    Q.   Have you seen B-9 before?
      9    A.   I saw a lot like it.
    10     Q.   Is this the part that was found in your storage locker?
    11                MR. DENSEMO: Your Honor, at this point we are
    12     going to -- we are going to instruct Mr. Ramadan to take the
    13     Fifth Amendment regarding the rest of these photos because,
    14     again, the government has threatened to charge Mr. Ramadan
    15     with these items, so we don't believe that any further
    16     testimony would be in his interest. So we are instructing
    17     our client to take the Fifth with regard to any further
    18     photos that the government wants to offer.
    19                THE COURT: All right.
    20     BY MR. WATERSTREET:
    21     Q.   I'm going to show you what has been marked B-26?
    22                MR. RAMADAN: (In English) I take my Fifth.
    23     BY MR. WATERSTREET:
    24     Q.   You take the Fifth on that?
    25                THE COURT: Okay. We were on B-9.


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      1                MR. WATERSTREET: Yeah, I moved to B-26, Your
      2    Honor.
      3                THE COURT: B-26?
      4                MR. WATERSTREET: Yes, Your Honor.
      5    BY MR. WATERSTREET:
      6    Q.   Do you recognize this WB --
      7                MS. FITZHARRIS: Objection, Your Honor; Mr. Ramadan
      8    has invoked the Fifth.
      9                THE COURT: I didn't hear him if he -- I'm not
    10     saying he didn't, I just didn't hear it. He can answer it.
    11     A.   I take the Fifth.
    12                 MR. WATERSTREET: Can I ask the question first
    13     before he takes the Fifth?
    14                 THE COURT: Yes, you can ask the question first.
    15     BY MR. WATERSTREET:
    16     Q.   Do you see this WB1988 written on this --
    17     A.   I take the Fifth.
    18     Q.   And earlier you said that you are WB.88, are you not?
    19                 MS. FITZHARRIS: Objection, Your Honor; asked and
    20     answered.
    21                 THE COURT: It was.
    22     BY MR. WATERSTREET:
    23     Q.   And you have a website WB.88, do you not?
    24     A.   YouTube.
    25     Q.   A YouTube. What's on that YouTube channel?


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      1               MS. FITZHARRIS: Objection, Your Honor; relevance.
      2               THE COURT: What is the relevance?
      3               MR. WATERSTREET: Your Honor, again, he's claimed
      4    that his will was overborne by the mere presence of firearms,
      5    yet he has a website devoted solely to firearms.
      6               MS. FITZHARRIS: That is a mischaracterization of
      7    the argument, that the mere presence of firearms.
      8               THE COURT: Okay. It is not mere presence, it was
      9    one of the --
    10                MS. FITZHARRIS: Yes.
    11                THE COURT: -- items.
    12                MR. WATERSTREET: One of the items.
    13                THE COURT: All right. But you may go into that.
    14     Overruled.
    15     BY MR. WATERSTREET:
    16     Q.   I'm going to show you --
    17                MS. FITZHARRIS: If I could place a standing
    18     objection to any discussion of this YouTube channel, any
    19     videos of this YouTube channel and anything having to do with
    20     this YouTube channel.
    21                THE COURT: All right.
    22                MS. FITZHARRIS: Okay.
    23                THE COURT: And, excuse me, but I have no idea what
    24     a YouTube channel is.
    25                MR. WATERSTREET: I will ask him about it.


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      1    BY MR. WATERSTREET:
      2    Q.   What is a YouTube channel, Mr. Ramadan?
      3    A.   It is a channel on YouTube, you can download videos.
      4    Q.   And to speed this up a little bit, this is something
      5    that you put on YouTube, you can create your own channel and
      6    try to get people to come and watch the videos that you post?
      7    A.   Yeah.
      8    Q.   And it is also a way for you to be able to make money
      9    because sometimes they pay you for how many people come and
    10     view your videos and things of that nature?
    11     A.   Right.
    12     Q.   Okay. I'm going to show you what has been marked W-1.
    13     This is a screen shot of your YouTube channel, WB.88.GUNS?
    14     A.   Yes.
    15     Q.   Is this your -- the screen shot of your YouTube video
    16     WB.88.GUNS?
    17     A.   Yes.
    18     Q.   And on there does it have you target shooting with a
    19     Mosin Nagant model 91130PU?
    20                 MS. FITZHARRIS: Your Honor, if Mr. Waterstreet is
    21     referring to something specifically on the website we would
    22     ask that Mr. Ramadan see what he is referring to.
    23                 THE COURT: All right.
    24     BY MR. WATERSTREET:
    25     Q.   It is the third picture in from the left-hand side where


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      1    it says uploads, number one, two, three, shooting target
      2    Mosin Nagant model 91130PU.
      3    A.     Yes.
      4    Q.     Is this you in Government's Proposed Exhibit C-4 holding
      5    that very same weapon?
      6                  MS. FITZHARRIS: Can we see what C-4 is?
      7                  MR. WATERSTREET: Yes.
      8    A.     Yes.
      9    BY MR. WATERSTREET:
    10     Q.     And that's the same weapon that your mother is holding
    11     in E-1?
    12                   MS. FITZHARRIS: Objection, Your Honor, to anything
    13     having to do with his mother; that's completely irrelevant.
    14                   THE COURT: Well, the picture is in.
    15                   MS. FITZHARRIS: I understand but my objection
    16     is --
    17                   THE COURT: All right. I will take it.
    18     BY MR. WATERSTREET:
    19     Q.     Is it the same weapon?
    20     A.     Yes.
    21     Q.     Is that taken in the same location as the picture with
    22     you?
    23     A.     Yes.
    24     Q.     Showing you what has been marked C-1, do you recognize
    25     the person in C-1?


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      1    A.   Me.
      2    Q.   Is that you?
      3    A.   Uh-huh.
      4    Q.   Is that a yes?
      5    A.   Yes.
      6    Q.   What gun is that?
      7                MS. FITZHARRIS: Objection; relevance.
      8                THE COURT: The relevance, Counsel?
      9                MR. WATERSTREET: Again, as to his concern for just
    10     merely being around a firearm, Your Honor.
    11                 MS. FITZHARRIS: How does the type of firearm
    12     matter in this?
    13                 MR. WATERSTREET: I don't know. I don't know.
    14                 THE COURT: Overruled.
    15                 MS. FITZHARRIS: Well, you are the one saying that
    16     it is relevant. Why is the type of firearm in this photo
    17     relevant, Mr. Waterstreet?
    18                 THE COURT: Are you saying because this looks -- I
    19     mean, it looks like a very powerful weapon, would be greater
    20     than a weapon that the agents would have them on? I don't
    21     know.
    22                 MR. WATERSTREET: His knowledge of firearms for him
    23     to be able to explain whether he was fearful of a firearm,
    24     not fearful of a firearm by the mere presence of a firearm --
    25                 MS. FITZHARRIS: Objection --


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      1               THE COURT: I will take it.
      2               MS. FITZHARRIS: -- to the characterization of the
      3    mere presence of a firearm. It was one of the factors.
      4               THE COURT: It is not mere presence. We have gone
      5    over that, and I understand it. Okay. Go ahead. But I
      6    think with this -- you should wrap up with this because we
      7    have heard enough on the guns.
      8               MR. WATERSTREET: Move for the admission of --
      9               MR. DENSEMO: I don't think Mr. Waterstreet heard
    10     the Court, Your Honor, the Court's last statement.
    11                MR. WATERSTREET: I'm moving on to another subject.
    12                THE COURT: Okay.
    13                MR. WATERSTREET: I'm moving for admission of those
    14     items?
    15                MS. FITZHARRIS: Objection; irrelevant --
    16                MR. WATERSTREET: C-1.
    17                MS. FITZHARRIS: -- prejudicial.
    18                MR. WATERSTREET: C-4, W-1.
    19                THE COURT: Okay. I don't know C-4, I didn't
    20     write -- let me see. Did I have C-4?
    21                MR. WATERSTREET: I'm sorry, Your Honor. It is
    22     right here.
    23                THE COURT: Hold on one minute. What is C-4?
    24     BY MR. WATERSTREET:
    25     Q.   Your extending index finger in C-4, what does that --


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      1               MR. DENSEMO: Objection.
      2    BY MR. WATERSTREET:
      3    Q.   Why did you --
      4               MR. DENSEMO: Your Honor, excuse me.
      5               MR. WATERSTREET: Your Honor --
      6               MR. DENSEMO: Look, look --
      7               MR. WATERSTREET: -- if I may.
      8               MR. DENSEMO: Your extended index finger in C-4?
      9    He was talking about guns, and now he's talking about an
    10     extended index finger.
    11                THE COURT: Okay. But only one of you can object
    12     for this witness.
    13                MS. FITZHARRIS: I object to questions about the
    14     extended finger in a photo.
    15                THE COURT: Okay.
    16                MS. FITZHARRIS: How is that relevant to the
    17     suppression issue?
    18                THE COURT: I don't know.
    19     BY MR. WATERSTREET:
    20     Q.   So the question is, sir, what did you mean by --
    21                THE COURT: But, wait a minute. The question is
    22     you introduced a number of exhibits, they had objections
    23     based on all of the objections they have stated as to the
    24     relevance, and the Court allowed it, so she will allow all of
    25     these, but I said we are done. I don't know what you are


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      1    doing.
      2               MR. WATERSTREET: I understand.
      3    BY MR. WATERSTREET:
      4    Q.   Mr. Ramadan --
      5               MR. DENSEMO: Your Honor --
      6    BY MR. WATERSTREET:
      7    Q.   -- the images that you're --
      8               MR. DENSEMO: Your Honor, this has gone -- is about
      9    to sink into the muck at this point. If the --
    10                THE COURT: I don't know what you are talking
    11     about.
    12                MR. DENSEMO: The government has given us photos
    13     that have -- that have absolutely nothing to do with the
    14     suppression hearing whatsoever.
    15                THE COURT: Okay. And I do think Ms. Fitzharris is
    16     capable of raising the objection.
    17                MS. FITZHARRIS: Your Honor, the government has
    18     handed us the same photos of ISIS photographs beheading,
    19     things like that, that were already introduced as exhibits on
    20     the first day of testimony. This is about to go -- this
    21     cross-examination has already devolved into an interrogation
    22     of Mr. Ramadan's character, whether it is okay to download
    23     these photos, whether it is okay to possess guns, and it
    24     should stop. It is irrelevant to the suppression questions.
    25                MR. WATERSTREET: It goes to exactly why they were


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      1    interviewing him in the first place, Your Honor. Mr. Ramadan
      2    is trying to suggest that by traveling with his family he was
      3    improperly pulled off of a plane, that he was subjected to
      4    questioning about the objects that he had in his possession,
      5    and also questioned about the objects that they found on his
      6    hard drive, and that it was totally improper, and that's what
      7    they are suggesting.
      8               MS. FITZHARRIS: Your Honor --
      9               MR. WATERSTREET: I --
    10                MS. FITZHARRIS: -- I actually --
    11                THE COURT: Just wait until he's done.
    12                MR. WATERSTREET: May I finish, please.
    13                MS. FITZHARRIS: Okay.
    14                MR. WATERSTREET: And the reason that it's totally
    15     proper for law enforcement to do this, they would be remiss
    16     in their duties based upon the information they came across
    17     not to ask Mr. Ramadan some questions about his possessions
    18     and the items that he decided to download on his own.
    19                MS. FITZHARRIS: Your Honor, this is not a question
    20     about whether it was proper to ask Mr. Ramadan to step off
    21     the plane. It is not a hearing about whether it's proper for
    22     them to follow up on questions. It is about whether the
    23     government -- these government agents, who are asking
    24     Mr. Ramadan about whether he was involved in terrorist
    25     activity, should have given him Miranda warnings. It is


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      1    about whether -- at the moment they started searching his
      2    digital hard drive they had a reason to do so, that based on
      3    customs and border search reasons, not based on like
      4    freestanding investigative searches for criminal activity.
      5               This hearing is about whether Mr. Ramadan felt
      6    compelled to speak, so it is not about the propriety of these
      7    questions. It is about whether they had to take certain
      8    measures and get certain protections to make sure that
      9    Mr. Ramadan's rights were protected. That's what's going on
    10     here.
    11                THE COURT: Well, it seems to me that there --
    12     there are issues which go back to the first issue about
    13     whether or not they had to advise him whether or not this is
    14     a warrantless search, and there is something about the
    15     reasonable suspicion, I believe.
    16                MS. FITZHARRIS: Your Honor, they did not know
    17     about these photos until they went onto his hard drive. So
    18     if we look at the snapshot in time when they went onto his
    19     hard drive, that is what's relevant.
    20                THE COURT: It is relevant when they went onto his
    21     hard drive and they found these. Now the question of should
    22     they have gone onto his hard drive is one that you have
    23     argued, but assuming -- assuming the Court finds it is a
    24     border search and it is allowable and you find this
    25     information, it is reasonable that they would go on with


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      1    questions. Of course, there is the issue of should they then
      2    have Mirandized him, and those are all issues that have to be
      3    decided, but I think it is reasonable to go into this if this
      4    is what they found, and I'm going allow it.
      5                MR. WATERSTREET: Thank you, Your Honor.
      6    BY MR. WATERSTREET:
      7    Q.   I'm going to start with O-2. Is this one of the items
      8    that was downloaded onto your hard drive?
      9    A.   I don't remember.
    10     Q.   You don't remember. What about O-3?
    11                 THE COURT: O-2 and O-3?
    12                 MR. WATERSTREET: O-2 and then O-3, Your Honor.
    13     A.   Those pictures it feels like I saw those but I don't
    14     remember. Maybe those are videos.
    15     BY MR. WATERSTREET:
    16     Q.   Did you download these onto your hard drive?
    17     A.   I had, yes.
    18     Q.   Okay. O-4. Did you -- is this from your hard drive?
    19     A.   Yes.
    20     Q.   Okay. O-5, is this from your hard drive?
    21     A.   Yes.
    22     Q.   O-6, is this from your hard drive?
    23     A.   Yes.
    24     Q.   O-7, is this from your hard drive?
    25     A.   Yes.


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      1    Q.   O-9, is this from your hard drive?
      2    A.   I don't remember this one.
      3    Q.   O-10, is that from your hard drive?
      4    A.   I saw lots of video -- I saw lots of videos, not
      5    pictures, like this one.
      6    Q.   But these are the videos that you downloaded to your
      7    hard drive?
      8                O-13 --
      9                THE COURT: Wait a minute. I didn't get an answer
    10     to that.
    11     BY MR. WATERSTREET:
    12     Q.   Are these videos that you downloaded to your hard drive?
    13     A.   Yes.
    14     Q.   O-13, is this a video or a photo that you downloaded to
    15     your hard drive?
    16     A.   Yes.
    17     Q.   O-14, is this a video that you downloaded or a photo
    18     that you downloaded to your hard drive?
    19     A.   Yeah.
    20     Q.   O-15, are these -- this is a photo or video that you
    21     downloaded to your hard drive?
    22     A.   I'm not sure, it's been a long time.
    23     Q.   Okay. Did you download so many that you may not
    24     remember that?
    25                 MS. FITZHARRIS: Objection, Your Honor;


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      1    argumentative.
      2                THE COURT: Pardon me?
      3                MR. WATERSTREET: It is not argumentative.
      4                MS. FITZHARRIS: Argumentative.
      5                THE COURT: Overruled.
      6    BY MR. WATERSTREET:
      7    Q.   Did you download so many that you may not be able to
      8    remember?
      9    A.   Not a lot, a lot.
    10     Q.   Would you say over a thousand would be a lot?
    11     A.   Ten.
    12     Q.   Ten?
    13                 MR. RAMADAN: (In English) Maybe 20.
    14     A.   Twenty.
    15     BY MR. WATERSTREET:
    16     Q.   Twenty. You realize you are under oath. Ten, 20,
    17     that's all?
    18                 MR. RAMADAN: (In English) I'm not hundred percent
    19     sure, you know.
    20     A.   I'm not hundred percent sure.
    21     BY MR. WATERSTREET:
    22     Q.   You have a five terabyte hard drive that's almost
    23     completely full, and there is --
    24     A.   It was like -- it has like also has my personal stuff,
    25     and it has -- most of it, and it has a little bit about


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      1    American army, all kind of armies, not only ISIS.
      2    Q.   So getting back to my question, these are ISIS videos,
      3    right?
      4    A.   Yes.
      5    Q.   And they asked you about ISIS videos?
      6                MS. FITZHARRIS: Objection; who is he -- who is
      7    they?
      8    BY MR. WATERSTREET:
      9    Q.   The agents.
    10     A.   At the airport?
    11     Q.   Yes.
    12     A.   Yes.
    13                 MR. WATERSTREET: I think the point has been made
    14     Your Honor. I will move, if they have not already been
    15     introduced O-2, 3, 4, 5, 6, 7, 9, 10, 13 and 14?
    16                 THE COURT: All right. He indicated that he
    17     doesn't remember O-2 and O-9, so the Court will allow the
    18     others but not those two over the objection.
    19                 MS. FITZHARRIS: But please note the objection.
    20                 THE COURT: The standing objection of the defense.
    21                 (Government's Exhibits O-3, O-4, O-5, O-6, O-7,
    22                 O-10, O-13 and O-14 received into evidence.)
    23     BY MR. WATERSTREET:
    24     Q.   So you do not remember O-2?
    25     A.   No.


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      1    Q.     Okay.
      2    A.     I don't remember.
      3                 MR. WATERSTREET: Your Honor, for the record, I
      4    will proffer that O-2 is we are coming to kill you, oh,
      5    Jews --
      6                 MS. FITZHARRIS: Objection; we object to the
      7    proffer.
      8                 THE COURT: Just a minute. It's not in so --
      9                 MR. WATERSTREET: I understand. I'm just making
    10     a --
    11                  THE COURT: A proffer?
    12                  MR. WATERSTREET: A proffer.
    13                  MS. FITZHARRIS: Objection to the proffer to an
    14     exhibit that has not been admitted.
    15                  THE COURT: Okay. It may be submitted for purposes
    16     of appeal, but I'm not going to look at it.
    17                  MR. WATERSTREET: I understand that, Your Honor.
    18                  THE COURT: Okay.
    19     BY MR. WATERSTREET:
    20     Q.     Mr. Ramadan, the last area that I want to go into is the
    21     items that were provided by you placed in those bags at the
    22     airport. Were you the one that packed each and every one of
    23     those bags?
    24     A.     No.
    25     Q.     Didn't you tell the law enforcement you didn't trust


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      1    your wife?
      2    A.   Yes, but not about the -- he asked me about -- not
      3    regarding the luggage.
      4    Q.   Okay. The luggage. The luggage. The bulletproof vest
      5    and the plates, those belong to you?
      6    A.   Yes.
      7    Q.   The gas mask, that belongs to you?
      8    A.   Yes.
      9    Q.   The load bearing vest, that belongs to you, the one the
    10     plates go into?
    11     A.   Yes.
    12     Q.   The gun holsters, those belong to you?
    13                 MR. RAMADAN: (In English) The BB gun holsters.
    14     A.   The BB gun holsters.
    15     BY MR. WATERSTREET:
    16     Q.   The BB gun holsters?
    17                 MR. RAMADAN: (In English) Yep.
    18     BY MR. WATERSTREET:
    19     Q.   Okay. And how many BB gun holsters did you pack?
    20     A.   I don't remember but it was all of them for the BB gun.
    21     Q.   And how many BB guns do you own?
    22     A.   Maybe four.
    23     Q.   And where did you keep those BB guns?
    24     A.   It was in a storage.
    25     Q.   The storage -- the storage locker that you have in


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      1    Ann Arbor?
      2               MS. FITZHARRIS: Objection; what's the relevance of
      3    all of this?
      4    A.   The other pictures that my wife was carrying, it was a
      5    BB gun.
      6               THE COURT: Okay. Counsel, wait a minute. What's
      7    the relevance of this?
      8               MR. WATERSTREET: Whether he has standing to
      9    contest the --
    10                THE COURT: He what?
    11                MR. WATERSTREET: Standing, and is he --
    12                MS. FITZHARRIS: Mr. Ramadan has already
    13     established standing. He established that he had a right to
    14     privacy in the storage locker. Berg vs. United States
    15     provides a really excellent explanation of what standing is.
    16     I can talk about it after we finish evidence, if Your Honor
    17     would like.
    18                MR. WATERSTREET: I'm talking about the items that
    19     you packed.
    20                MS. FITZHARRIS: He does not have to have -- claim
    21     personal possessory interest in the items that are -- that --
    22     every item found in that storage locker to claim a reasonable
    23     expectation of privacy or a possessory interest in the
    24     storage locker.
    25                MR. WATERSTREET: I'm not talking about the storage


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      1    locker, Your Honor. I'm talking about the items in the
      2    bag -- the luggage.
      3               THE COURT: The items in the bag at the airport?
      4               MR. WATERSTREET: Yes.
      5               THE COURT: Overruled.
      6    A.   So what is the question?
      7    BY MR. WATERSTREET:
      8    Q.   How many BB guns did you have in that storage locker was
      9    the question because --
    10                THE COURT: You said storage locker.
    11     BY MR. WATERSTREET:
    12     Q.   I was following up on the question of you only had one
    13     BB gun in that storage locker, correct?
    14     A.   No. As far as I remember more than one.
    15     Q.   And each one of those holsters was for that BB gun?
    16     A.   No.
    17     Q.   There were magazine holders for magazines for AR15s,
    18     correct?
    19     A.   No, for the BB gun AR15.
    20     Q.   And the Taser, did that Taser belong to you?
    21                MR. RAMADAN: (In English) It's mine.
    22     A.   It's mine.
    23     BY MR. WATERSTREET:
    24     Q.   Okay. And the rifle scope for the AR15, is that yours?
    25     A.   First of all, it is not for the AR15. So it's -- it's


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      1    the -- it's not meant to be for a strong weapon because it's
      2    very cheap and the glass will shatter.
      3               MR. RAMADAN: (In English) It's only just for BB
      4    gun.
      5    A.     It's only just for BB gun.
      6    BY MR. WATERSTREET:
      7    Q.     But the mount for that scope was for an AR15, it was an
      8    A500?
      9    A.     I never tried it. I don't know.
    10     Q.     And the lower handle -- the lower handle for if the
    11     AR15, did that belong to you?
    12     A.     Yes, but it's not for the AR15.
    13     Q.     So all of the -- remember seeing those photos all the
    14     items laid out, did all of those items belong to you?
    15     A.     Which, which --
    16     Q.     That were introduced as exhibits before?
    17     A.     Can I see them?
    18     Q.     Sure. These were I-1 --
    19                MS. FITZHARRIS: Mr. Waterstreet, can we please
    20     have a copy?
    21                MR. WATERSTREET: Yes, I will get them to you.
    22     These have been previously admitted, Your Honor, I-1 through
    23     27.
    24     BY MR. WATERSTREET:
    25     Q.     Does number 1 belong to you?


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      1    A.   Yes.
      2    Q.   Number 2?
      3    A.   Yes.
      4    Q.   Number 3?
      5    A.   Yes.
      6    Q.   Number 4?
      7    A.   Yes.
      8    Q.   Number 5?
      9    A.   Yes.
    10     Q.   Number 6?
    11     A.   Yes.
    12     Q.   Number 7?
    13     A.   Yes.
    14     Q.   Number 8?
    15     A.   Yes.
    16     Q.   These tactical knives, those belong to you?
    17                 MR. RAMADAN: (In English) Pocket knife.
    18     A.   Pocket knife.
    19                 MR. RAMADAN: (In English) It's a pocket knife.
    20     A.   These are pocket knives.
    21     BY MR. WATERSTREET:
    22     Q.   All of these knives belong to you?
    23     A.   Yes.
    24     Q.   Number 9, the gas mask belongs to you?
    25     A.   Yes.


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      1    Q.   Number 10, the gun magazines, those belong to you?
      2                MR. RAMADAN: (In English) They are not gun
      3    magazines. They are BB gun magazines.
      4    A.   These are BB gun magazines.
      5    BY MR. WATERSTREET:
      6    Q.   I-11, the law enforcement spray, OCS spray, that belongs
      7    to you?
      8    A.   Yes.
      9    Q.   Number 13, the knives, the camera?
    10                 MR. RAMADAN: (In English) I don't see knives.
    11     BY MR. WATERSTREET:
    12     Q.   The holster.
    13                 MR. RAMADAN: (In English) I don't see knives.
    14     A.   I don't see knives.
    15     BY MR. WATERSTREET:
    16     Q.   Okay. What's in -- what's in the middle of that --
    17     what's in the very middle there, Mr. Ramadan?
    18                 MR. RAMADAN: (In English) It's not clear. I can't
    19     see -- I can see the gas mask.
    20     BY MR. WATERSTREET:
    21     Q.   I'm on 13 now.
    22                 MR. RAMADAN: (In English) Oh, you're on 13. I'm
    23     talking about 12.
    24     BY MR. WATERSTREET:
    25     Q.   Yeah, I'm on 13. Is that knives right there in the


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      1    middle?
      2                MR. RAMADAN: (In English) This is multiple tools.
      3    A.   This is multiple tools.
      4    BY MR. WATERSTREET:
      5    Q.   Okay.
      6                MR. RAMADAN: (In English) And the pocket knife.
      7    A.   And the pocket knife.
      8    BY MR. WATERSTREET:
      9    Q.   So there was knife?
    10     A.   And light.
    11     Q.   There are two holsters -- the top two black holsters?
    12     A.   Yes.
    13     Q.   And then to the right there is a -- it looks like an
    14     under shoulder holster -- a leather under-the-shoulder
    15     holster?
    16     A.   Yes.
    17     Q.   And then headphones, the ear protection, is that yours
    18     as well?
    19     A.   Yes.
    20     Q.   Okay. Are BB guns that loud that you need ear
    21     protection?
    22     A.   This one you don't use it for the BB gun.
    23     Q.   That's for shooting handguns and rifles?
    24                 MR. RAMADAN: (In English) You can use it for
    25     construction too.


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      1    A.   You can use it for construct too.
      2                MR. RAMADAN: (In English) Heavy equipment.
      3    A.   Heavy equipment.
      4    BY MR. WATERSTREET:
      5    Q.   I understand you can use it for that, but you use it for
      6    handguns and rifles?
      7    A.   You can use it for one -- for more than one reason.
      8    Q.   I understand that, Mr. Ramadan. Please just answer the
      9    question. You can use it for a rifle and --
    10                 MS. FITZHARRIS: Objection; Mr. Ramadan has
    11     answered the question.
    12                 MR. WATERSTREET: No, he has not answered the
    13     question.
    14                 MR. RAMADAN: (In English) I answered.
    15     A.   I answered.
    16     BY MR. WATERSTREET:
    17     Q.   Sir, it is a very simple question. This is the headgear
    18     that you can wear when using a handgun and a rifle?
    19     A.   You can use it, but the whole purpose of it is to reduce
    20     the loud noise.
    21     Q.   And guns make loud noises, don't they?
    22                 MR. RAMADAN: (In English) Sure, yes.
    23     A.   Sure, yes.
    24     BY MR. WATERSTREET:
    25     Q.   I-15, that's a holster, a drop holster, that you hook up


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      1    to tactical vest?
      2    A.   No.
      3    Q.   What is it?
      4    A.   That's a BB gun for the leg -- the holster for the leg.
      5    Q.   For a BB gun?
      6                MR. RAMADAN: (In English) Yes.
      7    A.   Yes.
      8    BY MR. WATERSTREET:
      9    Q.   I-19, you can skip ahead, I'm trying to go through these
    10     very quickly. That's your Taser?
    11     A.   Yeah.
    12     Q.   I-20, that's your scope for a rifle?
    13                 MR. RAMADAN: (In English) No.
    14     Q.   I-21, the AD-RECON X30, that is the scope?
    15                 THE COURT: Wait a minute. Go back -- excuse me.
    16     Go back to I-20. He said no?
    17                 MR. RAMADAN: (In English) No -- yes.
    18                 MR. WATERSTREET: He said yes to that, Your Honor.
    19     That is your scope. It may be the way I said it, Your Honor.
    20     BY MR. WATERSTREET:
    21     Q.   That is your scope?
    22     A.   Yes.
    23     Q.   I-21, the AD-RECON X30, that's the scope mount for the
    24     firearm, correct?
    25                 MR. RAMADAN: (In English) I think this is for the


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      1    flashlight.
      2    A.   I think this is for the flashlight.
      3    BY MR. WATERSTREET:
      4    Q.   For the flashlight. Is that what you use it for?
      5               MR. RAMADAN: (In English) I believe so.
      6    A.   I believe so.
      7    BY MR. WATERSTREET:
      8    Q.   So when you were using a BB gun that needed a
      9    flashlight?
    10                MR. RAMADAN: (In English) Just to look --
    11                MS. FITZHARRIS: Objection; this is a
    12     mischaracterization of testimony.
    13     A.   Just to look --
    14     BY MR. WATERSTREET:
    15     Q.   I-22, the --
    16                THE COURT: Okay. Wait a second, wait a second.
    17     The objection is mischaracterization?
    18                MS. FITZHARRIS: Yes.
    19                MR. WATERSTREET: Okay.
    20                THE COURT: Go back to it and --
    21     BY MR. WATERSTREET:
    22     Q.   Okay. What do you use this -- what do you use this
    23     scope mount for?
    24     A.   What picture?
    25     Q.   I-21.


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      1    A.     What do I use it for?
      2    Q.     Yes.
      3                  MS. FITZHARRIS: Objection; relevance.
      4                  THE COURT: Wait a minute. We can't do it all
      5    at -- yeah. Go ahead. Your objection is what?
      6                  MS. FITZHARRIS: Relevance as to what he uses it
      7    for.
      8                  THE COURT: Well, it would help to explain what the
      9    picture is -- the photo is.
    10     BY MR. WATERSTREET:
    11     Q.     What do you use it for?
    12     A.     I don't remember exactly.
    13     Q.     Did you buy this?
    14     A.     Yes.
    15     Q.     How much did you pay for it?
    16                   MS. FITZHARRIS: Objection; relevance.
    17     A.     I don't remember.
    18                   THE COURT: Sustained.
    19     BY MR. WATERSTREET:
    20     Q.     I-22, what is that?
    21                   MR. RAMADAN: (In English) Same thing that BB gun
    22     is for, like, so you can look --
    23     A.     Same thing --
    24                   MR. RAMADAN: (In English) -- close, like, you
    25     know --


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      1    A.   Close like -- so to hold the BB gun so it will look like
      2    real one.
      3    BY MR. WATERSTREET:
      4    Q.   So it is a lower handle for a BB gun or an AR15?
      5                MR. RAMADAN: (In English) BB gun, yeah.
      6    BY MR. WATERSTREET:
      7    Q.   Only BB gun?
      8                MR. RAMADAN: (In English) BB gun, you can use it
      9    for --
    10     A.   BB gun, you can use it for different.
    11     BY MR. WATERSTREET:
    12     Q.   You can use it for a rifle, an AR15?
    13                 MS. FITZHARRIS: Objection; relevance.
    14                 MR. RAMADAN: (In English) I don't know if it's for
    15     AR15.
    16     A.   I dont know if you can use it for an ar 15.
    17                 MS. FITZHARRIS: Objection.
    18                 THE COURT: Yes, wait a minute. Relevance is the
    19     objection for --
    20     BY MR. WATERSTREET:
    21     Q.   This belongs to you, does it not?
    22                 THE COURT: -- the AR15.
    23                 MS. FITZHARRIS: The objection was to the -- what
    24     do you use it for, there's a lot of questions about that. If
    25     it --


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      1                THE COURT: If it is self-explanatory like a
      2    weapon, AR15, you don't need to answer what you use it for.
      3                MR. WATERSTREET: I understand that but it is a
      4    handle --
      5                MR. RAMADAN: (In English) For BB gun.
      6    BY MR. WATERSTREET:
      7    Q.   You use it for a BB gun?
      8                MR. RAMADAN: (In English) Yes.
      9    BY MR. WATERSTREET:
    10     Q.   This is yours?
    11                 THE COURT: Overruled. I will allow him to explain
    12     it is a handle for a BB gun, not what you use a BB gun for.
    13     BY MR. WATERSTREET:
    14     Q.   Is that yours?
    15     A.   Yes.
    16     Q.   I-23, what is I-23?
    17     A.   Yes, for me.
    18     Q.   That's yours.
    19                 And 25, 26 are additional photographs of the items,
    20     correct, kind of at a slightly different view?
    21     A.   Yeah.
    22     Q.   And then 27, this is your wife's and your personal
    23     identification information?
    24     A.   Yes.
    25     Q.   Including your identification for work when you used to


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      1    work for Star Carpet and Flooring in California?
      2               MS. FITZHARRIS: Objection; relevance,
      3    self-explanatory, speaks for itself.
      4               MR. WATERSTREET: That's fine, if it speaks for
      5    itself, that's fine.
      6               THE COURT: Okay.
      7               MR. WATERSTREET: I have no further questions at
      8    this time, Your Honor.
      9               THE COURT: Redirect?
    10     A.   Did you give a copy to my attorney?
    11                              REDIRECT EXAMINATION
    12     BY MS. FITZHARRIS:
    13     Q.   Mr. Ramadan, do you remember what color Officer Brown's
    14     gun was?
    15     A.   As far as I think it's black.
    16     Q.   Okay. Did you need to see the firearms to know that
    17     they had them?
    18     A.   It was showing.
    19     Q.   So how did you know the officers had firearms?
    20     A.   Because I saw it, like, it was visible.
    21     Q.   Okay. When -- the -- when you were talking about the
    22     pass codes and you asked for immunity, did you only ask for
    23     immunity or did you ask for anything else?
    24     A.   I also -- I asked -- I asked if I can show him the phone
    25     if he gives me a paper that I will have my rights and not do


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      1    anything against me, like, I will show him what I want to
      2    show him, like, not my wife's pictures or bring a female lady
      3    to look at it.
      4    Q.   Mr. Ramadan, are guns one of your hobbies?
      5    A.   Yes.
      6    Q.   Even though guns are your hobbies, are you still afraid
      7    of guns and people using guns on you?
      8                MR. RAMADAN: (In English) Can you repeat?
      9    A.   Can you repeat?
    10     BY MS. FITZHARRIS:
    11     Q.   Even though guns are your hobbies, are you still afraid
    12     of --- if people use guns on you?
    13     A.   Yes. If you carry a weapon it's not the same as someone
    14     who's carrying against you.
    15                 THE COURT: Excuse me. If you carry a weapon it is
    16     not the same as --
    17     A.   As someone's carrying it against you or in front of you.
    18                 MR. RAMADAN: (In English) In front.
    19     BY MS. FITZHARRIS:
    20     Q.   And why is that?
    21     A.   Because, first of all, I was in isolated area, and all
    22     of them that were around me they had guns, and they can do
    23     anything they want, they can kill me.
    24     Q.   Mr. Ramadan, why is it that when you have a gun on you
    25     that's -- that's not as terrifying for you as if somebody


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      1    else has a gun, why is that?
      2    A.   Because I can -- because I can defend myself when I have
      3    it on me.
      4    Q.   How large is your hard drive?
      5    A.   Five terabytes.
      6                MR. RAMADAN: (In English) That's one of them.
      7    A.   That's one of them.
      8    BY MS. FITZHARRIS:
      9    Q.   Okay. The hard drive that the agents searched at the
    10     airport, how large is that hard drive?
    11     A.   Five terabyte.
    12     Q.   As an example, how many hours of video could fit on one?
    13     Do you know how many hours of video can fit on one terabyte?
    14                 MR. RAMADAN: (In English) A lot.
    15     A.   A lot.
    16     BY MS. FITZHARRIS:
    17     Q.   Do you have a guess, how many files are on your
    18     five-terabyte hard drive?
    19     A.   A lot, a lot, thousands maybe.
    20     Q.   You know, when we received a copy of the hard drive from
    21     the government you, Mr. Densemo and I, we sat down and we
    22     looked at the hard drive, right? How did we go through those
    23     files?
    24     A.   The first time?
    25     Q.   Total.


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      1    A.   A lot, two days.
      2    Q.   How long -- how many hours were we looking at the files?
      3    A.   I did not count it but it was lots of hours, maybe
      4    14 hours in total.
      5    Q.   Were we able to look at every single file in that hard
      6    drive?
      7    A.   No.
      8    Q.   Are ISIS videos the majority of the files on your hard
      9    drive?
    10     A.   The minority; they were, like, only a few.
    11     Q.   What are kind of -- most of the -- if you were to say,
    12     what's the majority of the files on that hard drive?
    13                MR. RAMADAN: (In English) Family.
    14     A.   Family and personal family, cousins, areas, like areas.
    15     Mostly it was family and personal.
    16     BY MS. FITZHARRIS:
    17     Q.   On your hard drive, besides these ISIS videos that
    18     Mr. Waterstreet talked about, are there other videos or
    19     photos of armed conflicts?
    20     A.   Lots of armies in the world.
    21     Q.   And why do you watch those videos?
    22     A.   Just to see what's going on in the world because, like,
    23     CNN and other channels they don't bring videos like that.
    24     And if I knew that it was illegal I could have -- if it was
    25     illegal I could have not watched it.


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      1    Q.   When you -- the officers at the airport were asking you
      2    about the ISIS videos, did you explain to them why you
      3    watched the videos and looked at the photos?
      4    A.   After they forced me, yes.
      5    Q.   And -- and what did they ask you or what did you say to
      6    them?
      7    A.   The same answer kind of.
      8               MS. FITZHARRIS: No further questions, Your Honor.
      9               THE COURT: Any recross?
    10                               RECROSS-EXAMINATION
    11     BY MR. WATERSTREET:
    12     Q.   Mr. Ramadan, none of those guns the agents were
    13     carrying, if they were carrying them, were ever pointed at
    14     you, were they? It is a simple yes or no, sir.
    15     A.   Where, at the airport --
    16     Q.   At the airport.
    17     A.   -- or when they came to my house?
    18     Q.   At the airport.
    19     A.   No one pointed to me.
    20     Q.   Okay. And when you say you defend yourself with a gun,
    21     you tried to get a concealed weapons permit but you were
    22     denied a concealed weapons permit, were you not?
    23                MS. FITZHARRIS: Objection; relevance.
    24                MR. WATERSTREET: You brought it up.
    25                THE COURT: Sustained. We don't need it.


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      1                MR. WATERSTREET: Okay. Thank you.
      2                THE COURT: You may step down, sir.
      3                MR. RAMADAN: (In English) Thanks so much.
      4                (Witness excused at 4:14 p.m.)
      5                THE COURT: Any other witnesses for the defense?
      6                MS. FITZHARRIS: No, Your Honor.
      7                THE COURT: Any other rebuttal for plaintiff?
      8                MS. FITZHARRIS: Although I will say, again,
      9    there's that outstanding issue of Officer Brown's e-mails.
    10                 THE COURT: There is an outstanding issue of --
    11                 MS. FITZHARRIS: Officer Brown's e-mails, right.
    12     Mr. Waterstreet said that his office is going to check some
    13     more because Officer Brown said he had e-mails.
    14                 THE COURT: Okay. Any other witnesses,
    15     Mr. Waterstreet, Mr. Martin?
    16                 MR. WATERSTREET: I don't believe we have anything
    17     more, Your Honor --
    18                 THE COURT: Okay.
    19                 MR. WATERSTREET: -- at this time except for
    20     argument.
    21                 THE COURT: You are going to look for the e-mails?
    22                 MR. WATERSTREET: Yes, Your Honor.
    23                 THE COURT: Okay. And we have argument, and you
    24     want to present briefs -- I want you to present briefs, but
    25     you want to update your briefs based on recent law. Do you


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      1    want to argue today or do you want to come back?
      2               MR. MARTIN: We are prepared to argue today, Your
      3    Honor.
      4               MS. FITZHARRIS: We are prepared to argue today,
      5    but there are still a few outstanding kind of
      6    discovery-related issues that actually haven't been wrapped
      7    up, and would -- I guess our --
      8               MR. MARTIN: I'm sorry to interrupt, but I don't
      9    know what those are.
    10                MS. FITZHARRIS: There is the issue -- Your Honor
    11     never actually finally ruled on whether there would be any
    12     sanction for Officer Armentrout's notes being destroyed that
    13     included Mr. Ramadan's statements, and, you know, there are
    14     things like that that I want to supplement the record on with
    15     respect to the disclosure of the evidence that was ordered
    16     compelled.
    17                We also would like to renew our motion for some
    18     sort of sanction for the discovery -- for the destruction of
    19     the video based on the supplemented testimony and evidence
    20     presented in these past two days. I --
    21                MR. MARTIN: It is my recollection those motions --
    22     the ones she's referring to, the destruction of the notes and
    23     the motion regarding the video, have been denied, so those
    24     are not pending now before the Court.
    25                MS. FITZHARRIS: The destruction of notes has not


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      1    been decided because Your Honor ordered the production of any
      2    policies, and that was an outstanding issue that needed to be
      3    resolved, and so I think we should be given --
      4               THE COURT: Did you get a policy?
      5               MS. FITZHARRIS: No, there is no policy, but we
      6    should be able to argue about what that means with respect to
      7    whether there should be any sanctions for the destruction of
      8    Mr. Ramadan's statement in those notes.
      9               MR. MARTIN: Their request for the policy, Your
    10     Honor, was separate from their separate motion to dismiss the
    11     indictment because of the destruction of notes or some kind
    12     of sanction on the government.
    13                MS. FITZHARRIS: There is a --
    14                MR. MARTIN: Both of those have been decided now.
    15                MS. FITZHARRIS: Your Honor, the issue of Mr. -- of
    16     Officer Armentrout's notes was not decided at the previous
    17     hearing because of this issue of the policy, and --
    18                THE COURT: Well, there is no policy.
    19                MS. FITZHARRIS: Well, I believe -- I'm requesting
    20     the opportunity to argue how that plays -- how that court --
    21     how this Court should consider whether there is a policy
    22     whether there should be some sort of sanction for the
    23     destruction of the notes. If there is a policy that they
    24     should destroy the notes, and he followed it, then the
    25     concerns about bad faith or selective destruction of


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      1    defendant's statements is less problematic, but because there
      2    is no policy whatsoever, and Officer Schmeltz is making
      3    independent judgments about which defendant's statements to
      4    keep, which to shred, I think there needs so be some more
      5    care taken --
      6               THE COURT: Okay.
      7               MS. FITZHARRIS: -- particularly when they are
      8    investigating a criminal -- any criminal conduct.
      9               THE COURT: Okay. Now, Officer Schmeltz didn't
    10     write the final report, right?
    11                MR. MARTIN: Officer Schmeltz wrote the report
    12     based --
    13                THE COURT: On his notes, I mean?
    14                MR. MARTIN: Based in part on his own knowledge,
    15     because he was present during the interview, and then
    16     Officer Armentrout's notes. So they filed a motion for
    17     sanctions against the government because of
    18     Officer Armentrout's notes. We filed a response in which we
    19     argued they weren't entitled to the notes to begin with, they
    20     are not discoverable under Rule 16. We had an entire
    21     argument about this last time, and the Court denied their
    22     motion but ordered the government to look into whether or not
    23     there was a policy regarding note retention. There is no
    24     policy regarding note retention. That motion has been
    25     denied. That issue is done.


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      1               I'm concerned that the defense wants to just
      2    relitigate -- it is an endless series of litigation regarding
      3    this suppression hearing. It has to end.
      4               MS. FITZHARRIS: Your Honor, we are responding
      5    to -- learning information about just how much evidence has
      6    been destroyed and suppressed and withheld from the defense
      7    all along. We still just yesterday learned of more
      8    statements by officers for the government who -- that have
      9    not been provided to the defense. These are responsive
    10     motions because the government has not obliged by its
    11     obligations.
    12                If Your Honor would like to check the transcript to
    13     determine whether there was any sort of sanction for the
    14     destruction of Officer Armentrout's notes, which included
    15     Mr. Ramadan's statements, I welcome that because I do not
    16     believe that was resolved.
    17                I think we are entitled, less the government argue
    18     for appeal, that we have waived any further challenge or
    19     request for sanction for the destruction of the video. We
    20     are renewing that motion because the record is more complete
    21     now. All right. And we just -- this is a consistent pattern
    22     in this case where the government has --
    23                THE COURT: Don't argue, don't argue, please. If
    24     you want time to argue I will give you time to argue, but you
    25     are not getting twice.


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      1                MS. FITZHARRIS: Okay.
      2                THE COURT: And I think we have resolved most of
      3    these issues. I mean, if there is --
      4                MR. MARTIN: We have. We went through each motion,
      5    motion by motion by motion at the last hearing. And at the
      6    end the Court said I think we've covered them all, and I
      7    stood up and I said I agree, and the defense stood up and
      8    said I agree. And now she is saying, no, you didn't actually
      9    rule on that, we want another bite at the apple.
    10                 My point is that we started this suppression
    11     hearing in January. It is now late May and they want to
    12     continue the litigation, so it has to end.
    13                 THE COURT: The Court will review the transcript on
    14     that to see whether or not I will allow you any more argument
    15     on the issue.
    16                 MS. FITZHARRIS: If Your Honor does not want to
    17     hear any argument about the videotape, we are preserving that
    18     issue for appeal, and I just request the Court's indulgence
    19     to make sure that my record is complete.
    20                 THE COURT: I can't imagine your record is not
    21     complete.
    22                 MS. FITZHARRIS: I understand.
    23                 THE COURT: Is there something else you want to put
    24     on the record?
    25                 MS. FITZHARRIS: There was something else I wanted


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      1    to put on the record with respect to the disclosure of the
      2    agencies that the various officers worked for and the
      3    disclosure of when the -- about the policy.
      4               That was disclosed to us last Wednesday while the
      5    Sixth Circuit conference was going on. The government knew I
      6    was out of town and attending that conference because we
      7    discussed it on the record, which means that I was not in the
      8    office until this Monday and therefore could not do any
      9    follow-up investigation -- neither one of us could do
    10     anything with the untimely information.
    11                That is information that, unlike Agent Thomas'
    12     Giglio materials, that the government has had for a long
    13     time. There is really no excuse for disclosing it late. And
    14     the reason we asked for it, as we explained, was because we
    15     would like to -- we wanted the opportunity to make -- to
    16     receive the information, make any appropriate -- take any
    17     appropriate investigative steps like an FOIA request or
    18     assign an investigator to do that. Given the late disclosure
    19     in this case, we were not able to do anything with that
    20     information.
    21                You know, it is -- we would be derelict in our
    22     duties as defense lawyers if we just trusted the government's
    23     word and did nothing, particularly it has been proven in this
    24     case. So we asked for that information based -- because we
    25     wanted to do something with it. It wasn't just busy work.


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      1    It wasn't just to prolong this evidentiary hearing.
      2    Mr. Ramadan has been in custody. We do not want to prolong
      3    this any longer. But we are doing it because there have been
      4    so many instances where the government has withheld or
      5    destroyed evidence that we needed to do our due diligence.
      6    We were deprived of that opportunity to do any follow-up
      7    investigation because the government has waited until the
      8    last minute on absolutely everything to.
      9               THE COURT: So else -- what do you want to do? You
    10     tell me what you want to do.
    11                MS. FITZHARRIS: We are asking this Court to
    12     sanction the government for --
    13                THE COURT: I'm not sanctioning the government over
    14     what I have heard so far, but if there is something else that
    15     you need you tell me what it is.
    16                MS. FITZHARRIS: We -- you know, we -- I'm making
    17     my record with respect to prejudice. We were not able to
    18     investigate. If it comes to light --
    19                THE COURT: Okay. But what is it that you are not
    20     able to investigate?
    21                MS. FITZHARRIS: We are not able to submit FOIA
    22     requests or any kind of follow-up or ask or investigators to
    23     do any background research into the officers who we've asked
    24     the government to identify, or to follow up on the
    25     government's claim that they don't have any policies.


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      1    That --
      2               THE COURT: Well, you can follow up --
      3               MS. FITZHARRIS: And with respect to
      4    Agent Thomas --
      5               THE COURT: Wait a second. If you want to follow
      6    up now, I will give you time to follow up. You want to wait,
      7    we can wait for argument. How much time do you need to
      8    follow up?
      9               MS. FITZHARRIS: FOIA requests take forever, that's
    10     the problem, Your Honor.
    11                THE COURT: So you want me to give you forever
    12     while your client is in jail?
    13                MS. FITZHARRIS: No, we do not but this is --
    14                MR. MARTIN: Your Honor, this is about a customs --
    15                THE COURT: Just a minute. Let her continue.
    16                MR. MARTIN: Very well.
    17                THE COURT: So we are not going with a FOIA
    18     request?
    19                MS. FITZHARRIS: Not a this time, Your Honor. We
    20     think it is more important that this gets decided at this
    21     time, but as I said my point is to make a record of
    22     prejudice.
    23                THE COURT: Okay.
    24                MS. FITZHARRIS: And we -- as far as other
    25     sanctions that we've asked for everything with everything


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      1    else, we'd request an --
      2               THE COURT: Okay. Tell me about that --
      3               MS. FITZHARRIS: -- adverse ability interests.
      4               THE COURT: Tell me about the sanctions. One is
      5    about the video, and we don't even know there is a video.
      6    Nobody has testified that they regularly do videos.
      7               MS. FITZHARRIS: Actually Officer Brown testified
      8    about videos. He testified that he knows how to --
      9               THE COURT: Ask somebody to do --
    10                MS. FITZHARRIS: I would suggest --
    11                THE COURT REPORTER: Ms. Fitzharris --
    12                THE COURT: Wait a minute. I'm talking. I get to
    13     talk because I'm judge.
    14                He asks -- he said he could ask somebody, but he's
    15     never ever done a video all the time he's worked at the
    16     airport. It isn't like it is a regular thing and they just
    17     didn't do it for this case.
    18                MS. FITZHARRIS: He said that they do it sometimes.
    19     Officer -- Mr. Ramadan also testified that when he asked that
    20     it be recorded, one, either Officer Schmeltz or
    21     Officer Armentrout said it was recording.
    22                THE COURT: Well, that's what he is saying, and
    23     what we know is there is no video. Your record is made so
    24     the record is clear, but the Court is not sanctioning the
    25     government for not turning over a video that does not appear


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      1    to have been made. Okay. What other item?
      2               MS. FITZHARRIS: Again, there's the outstanding
      3    issue of Officer Armentrout's notes, and our overall
      4    concern --
      5               THE COURT: Okay. Officer Armentrout --
      6               MS. FITZHARRIS: Armentrout's notes that include
      7    Mr. Ramadan's statements.
      8               THE COURT: And he was to give those to the other
      9    officer who did the final report?
    10                MS. FITZHARRIS: He gave them to Officer Schmeltz,
    11     who did the final report, and then Officer Schmeltz shredded
    12     them.
    13                THE COURT: Okay. Again, the Court is not
    14     sanctioning on that. It's a procedure -- the testimony is
    15     that's what they do. There is no rule that they have to keep
    16     the notes, and they regularly don't keep the notes. So the
    17     Court is not going to sanction them for not having the notes,
    18     but the record is clear that they didn't keep them, and it is
    19     there for purposes of the appeal.
    20                MS. FITZHARRIS: All right, Your Honor. Again, the
    21     issue about the disclosure of the evidence ordered compelled,
    22     and we are saying it was not disclosed in a timely fashion.
    23     Your Honor has already said you are not sanctioning the
    24     government for that, but to make clear that's the basis for
    25     our concern in this case. It was not disclosed in a timely


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      1    manner.
      2               THE COURT: Okay. I'm sorry. What particularly
      3    was not disclosed, the evidence?
      4               MS. FITZHARRIS: The Giglio materials, the identity
      5    of the agencies where all of these officers would were
      6    involved in the investigation of Mr. Ramadan at the airport,
      7    which agencies they worked for, and whether there is a policy
      8    about the retention of notes during extended interviews like
      9    this.
    10                THE COURT: Okay. But the testimony has been -- or
    11     I think what you just argued is there is no policy.
    12                MS. FITZHARRIS: Yes. It is about the timeliness
    13     of the disclosure, how late it was, and that's the issue. I
    14     understand Your Honor is not going to order sanctions, but
    15     the issue is that it was not disclosed in time for the
    16     defense to make use of it and to conduct appropriate
    17     follow-up investigation.
    18                THE COURT: Okay. The Court's not doing it. I
    19     think the timeliness we have discussed that before.
    20                MS. FITZHARRIS: And with respect to --
    21                THE COURT: And as I said, if there is something
    22     that you think really would make a difference here I'm more
    23     than willing to give you the time to do it.
    24                MS. FITZHARRIS: You know, we are good on this.
    25     I -- we are good.


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      1               And then the outstanding issue, we have made a
      2    motion for Rule 26.2 materials that Officer Brown wrote. I
      3    request the Court order a deadline for the government to
      4    comply with the order to produce those e-mails just so that
      5    it isn't lingering for a very long time.
      6               THE COURT: Well, Mr. Waterstreet, I believe, said
      7    he had all of the e-mails.
      8               MR. WATERSTREET: Your Honor, to be clear, I have
      9    complied. I've looked through them, I have not found any.
    10     Out of courtesy to this Court and to defense counsel, I
    11     looked at them again, and out of courtesy to this Court and
    12     defense counsel I will look a third time for documents and I
    13     will report back if there is anything more than that I have
    14     found, but I have already complied. I don't know what else I
    15     can say. I have looked through the documents, and I have not
    16     found any documents that apply. I will look again with
    17     counsel -- with co-counsel and see if there's anything else,
    18     but there's -- I don't know what else I can say, Your Honor.
    19                THE COURT: Well, the officer testified to having
    20     sent some -- something.
    21                MR. WATERSTREET: I understand that, and because --
    22     I requested him to send me all of his e-mails and I have
    23     reviewed those e-mails. Now, he may be confused but I looked
    24     those over. And I'm hoping that I'm not confused, Judge,
    25     because I stand here before the Court saying that I have


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      1    complied, but I -- out of respect for this Court I will look
      2    again, and I told the Court that's what I would do.
      3               THE COURT: Well, I wonder if the officer has more
      4    e-mails that he hasn't turned over to you.
      5               MR. WATERSTREET: I will ask him.
      6               THE COURT: Will you ask him about that?
      7               MR. WATERSTREET: I will ask him again.
      8               THE COURT: All right. And there was another thing
      9    that you wanted to make a record of you said today, and I'm
    10     sorry, but I have forgotten what that was.
    11                MS. FITZHARRIS: Yes. So it was about the problems
    12     with the disclosure, and in particular the fact that it was
    13     disclosed with government counsel knew I was out of town.
    14     And that -- that's why --
    15                THE COURT: That was which disclosure now, the
    16     agencies and the officers?
    17                MS. FITZHARRIS: The agencies, the policy and
    18     frankly the Giglio materials. You know, I would like to put
    19     an objection on the record again to the protective order. I
    20     know we opposed it. I don't think there was a sufficient
    21     factual finding to enter a protective order in this case. I
    22     understand the Court's ruling, I'm just making my record.
    23                THE COURT: Okay. All right. I can give you
    24     another date to come in to argue, or you can do it in
    25     writing. Mr. Martin?


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      1               MR. MARTIN: I'm happy to do either, Your Honor;
      2    whatever the Court's preference is. If you want more
      3    briefing. As I understand it, the issues outstanding -- the
      4    issues outstanding are search and seizure under the
      5    Fourth Amendment, they filed a motion with respect to that
      6    that's still outstanding. They then filed a motion alleging
      7    statements should be suppressed based on failure to give
      8    Miranda under the Fifth Amendment, and then violation of the
      9    due-process clause. So there are sort of three different
    10     bases for suppression that are outstanding.
    11                And I'm happy to brief those. Now the Court has
    12     received on all of those topics briefing from both parties,
    13     and so as I look at the docket I see the briefing is
    14     complete, but I would be happy to supplement that if the
    15     Court wishes.
    16                THE COURT: Well, you don't have to subpoena it
    17     unless you don't argue, and you want to do an argument in
    18     writing. That's --
    19                MS. FITZHARRIS: I would actually prefer a written
    20     argument after we have ordered the transcripts and can look
    21     them over, and particularly given the developments in the
    22     case law. Like I said, they are happening rapidly, and there
    23     has been as far as I know at least seven new opinions have
    24     come out in various courts since I filed my briefs in
    25     October, and I think that the -- it is worth being able to


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      1    develop those arguments in writing.
      2               MR. MARTIN: I think --
      3               THE COURT: How much time do you think you need
      4    after the transcripts?
      5               MS. FITZHARRIS: I need to check my calendar and
      6    double-check what my other appellate and Supreme Court
      7    deadlines are, Your Honor. I believe I could finish it up in
      8    three weeks.
      9               MR. MARTIN: Your Honor, just as we were talking,
    10     you know, I almost think -- and obviously this is for the
    11     Court to decide, but I almost think an oral argument would be
    12     better because then you can ask questions and there can be
    13     some give and take. What you are going to get with
    14     additional briefing about the record is they are going to
    15     cite to all of Mr. Ramadan's testimony and say that's the
    16     facts, and we are going cite to the testimony that came out
    17     in our case in chief and we are going to say those are the
    18     facts, and then there is not going to be -- you are just
    19     going to get two summaries of different testimony.
    20                I almost think an oral argument would be more
    21     useful to the Court because then you could ask questions and
    22     there could be some back and forth rather than just
    23     additional briefing because, like I said, I think the law has
    24     kind of been covered by the briefs. Both parties' briefs
    25     were pretty lengthy.


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      1               MS. FITZHARRIS: I disagree with the
      2    characterization of what would be done. There is actually
      3    significant overlap and there would be -- I think there are
      4    facts in both the government's case and testimony other than
      5    Mr. Ramadan's that support Mr. Ramadan's motion, and so --
      6               THE COURT: Okay. Just one minute.
      7               (An off-the-record discussion was held at
      8               4:34 p.m.)
      9               THE COURT: Okay. What I'm going to do -- this is
    10     the middle of May. Let's give Rob some time to do the
    11     transcript. Assume the transcript is done by June 8th. I'm
    12     going to have you submit briefing, if you wish, you don't
    13     have to do this, but there are the new cases which the Court
    14     is aware of some of those, if you want to address those you
    15     can do that, but I'm going to also allow you to do oral
    16     argument. I would like the briefs first, so let's say the
    17     29th. And then we will set oral argument for --
    18                MS. FITZHARRIS: June 29th?
    19                THE COURT: June 29th.
    20                MS. FITZHARRIS: Okay.
    21                THE COURT: I'm just looking for a date for oral
    22     argument. Do you have any vacations planned anybody here?
    23                (No response.)
    24                THE COURT: Okay. I see we have some time on
    25     July 10th in the morning. How's that?


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      1               MS. FITZHARRIS: I'm available, Your Honor.
      2               THE COURT: Okay. Let's do July 10th then at
      3    10:00. And I'm going to give each of you no more than
      4    40 minutes.
      5               MS. FITZHARRIS: Okay. How many pages for the
      6    briefs?
      7               THE COURT: How many pages to brief?
      8               MS. FITZHARRIS: Yes.
      9               THE COURT: Well, your brief can't be any more than
    10     20, but you don't have to use that all, and you don't have to
    11     repeat what you have already have, I do have it --
    12                MS. FITZHARRIS: I understand.
    13                THE COURT: -- but I understand that there's new
    14     things.
    15                MS. FITZHARRIS: Okay.
    16                THE COURT: But you can use 20 pages to do whatever
    17     you want, and then we will do the oral argument. There's
    18     going to be no response to the briefs; it is each your own
    19     individual briefs. Okay.
    20                MS. FITZHARRIS: Okay.
    21                THE COURT: So we --
    22                MS. FITZHARRIS: Thank you, Your Honor.
    23                THE COURT: So we have that down to June -- let me
    24     make sure -- what did I say, the 29th?
    25                THE LAW CLERK: 29th.


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      1               THE COURT: June 29th for briefs, and July 10th for
      2    oral argument. Okay. Anything else?
      3               MR. DENSEMO: Yes, Your Honor.
      4               MR. WATERSTREET: Your Honor, one of the things the
      5    Court asked the government to check into as a request of
      6    Mr. Densemo was the allegations about misconduct at the Milan
      7    facility where Mr. Ramadan made a claim that an FBI agent
      8    attempted to go interview him while he was in custody. Does
      9    the Court wish to hear about the FBI's investigation
    10     concerning that matter at this time?
    11                THE COURT: In just a minute. Let me hear what --
    12     Mr. Densemo, you also have something?
    13                MR. DENSEMO: Yes, Your Honor. We were going to
    14     move for bond at this time. Mr. Ramadan had consented to
    15     detention, and he wanted to withdraw that consent, and he
    16     wanted to request bond at this point in time. This is --
    17     Mr. Ramadan is charged with offenses that do not carry a
    18     presumption. There is a presumption that he should be
    19     released. The Court has heard testimony that Mr. Ramadan has
    20     one misdemeanor conviction of several years ago.
    21                We would ask the Court at this point to allow us to
    22     argue for bond for Mr. Ramadan. He does still have family
    23     here. And his sister is here and she's prepared to provide a
    24     residence for him for their remainder of these proceedings.
    25     He has been in custody for going on a year now awaiting his


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      1    opportunity to have this hearing. And at this point we
      2    believe that he should be released especially given the fact
      3    that he's charged with a nonviolent offense that carries a
      4    presumption that he should be released.
      5               THE COURT: You may file a written motion and we'll
      6    have the pretrial look at it, and I will hear it.
      7               MR. DENSEMO: We will, Your Honor.
      8               THE COURT: Okay. What happened at Milan?
      9               MR. WATERSTREET: Your Honor, at the hearing on
    10     March 6th Mr. Densemo brought up an incident in which he
    11     claimed that Mr. Ramadan had been attempted -- an FBI agent
    12     attempted to interview him after he returned to the Milan
    13     detention center after the first suppression hearing that
    14     took place on January 30th, 2018.
    15                He claimed that the agent took some of his legal
    16     documents, and --
    17                MR. DENSEMO: I don't think that's right, Judge.
    18     He didn't claim that the agent took a legal documents. He
    19     said that the agent attempted to talk him, he said, you know,
    20     I'm represented by an attorney, Mr. Ramadan refused to speak
    21     with him. He did not say that agent took anything from him.
    22                THE COURT: Okay.
    23                MR. DENSEMO: So I don't know where Mr. Waterstreet
    24     got that, but if I said it I was mistaken because that's not
    25     what happened.


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      1               MR. WATERSTREET: Okay. All right. So, Your
      2    Honor, what the United States did is we had the FBI check
      3    into this matter. And to give the Court a little bit of
      4    information here, we confirmed that on January 19th, because
      5    Mr. Ramadan had been involved in an incident with another
      6    inmate, he had been placed in a special housing unit, and he
      7    was temporarily transferred from January 30th from the FDC in
      8    Milan to the marshals for the suppression hearing, and that
      9    Mr. Ramadan returned to Milan on February 20th, 2018.
    10                So what we ask the agent to check into is since he
    11     returned to Milan on February 20th, 2018 until March 2016
    12     when the allegation was made, we asked the agent to check to
    13     see if there was any FBI agent that went to Milan facility to
    14     interview Mr. Ramadan because that was all the information we
    15     had because at the time Mr. Densemo didn't have the specific
    16     date. He had a name of an individual.
    17                Well, according to the investigation, within two
    18     days after Mr. Ramadan returned, Milan staff found some
    19     graffiti, which appeared to be Arabic writing on the walls
    20     and floors of the detention facility. And they were provided
    21     photographs -- those photographs, and I will provide those to
    22     counsel and the Court at this time.
    23                So as a result of finding this graffiti that was
    24     written in his detention cell, there was an internal
    25     investigation being conducted by the Bureau of Prisons.


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      1               On February 23rd the investigator observed similar
      2    type of graffiti on the walls of Mr. Ramadan's cell where he
      3    was -- and determined that the graffiti matched the same
      4    graffiti that had been on the detention cell the previous
      5    day, February 22nd. And they found on the floor underneath
      6    his mattress a notepad with Arabic writing and the name of
      7    another inmate with an accompanying signature. And as a
      8    result of that, they took a photograph of those items on the
      9    notepad because they did not know because they could not read
    10     Arabic why an inmate seems to have a signature place for
    11     something that was written in Arabic.
    12                So what the staff did is what was underneath his
    13     mattress -- excuse me, his -- underneath his mattress this is
    14     where the notepad was. They did not look in any of the legal
    15     files that were being maintained by Mr. Ramadan, but it was,
    16     in fact, a notepad that was under his mattress. And it talks
    17     about -- we have had it translated, Your Honor. One of the
    18     images that was written by Mr. Ramadan was free Palestine.
    19     The other one was Islamic caliphate. And then there is a --
    20     and I'm not -- I don't necessarily have to put this into the
    21     record, but the Court has a copy of the translation from that
    22     notepad where the signature page -- there is a line for the
    23     signature for James Jackson, which is a fellow inmate.
    24                Now, they know that -- the staff has reason to
    25     believe that it was Mr. Ramadan who was the one who wrote the


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      1    Islamic caliphate and free Palestine as well as this document
      2    for the signature of James Jackson because his roommate --
      3    his name is Angel Rodriguez Rivera, and they have no reason
      4    to believe that Mr. Rodriguez Rivera understands or has the
      5    ability to write in the Islamic language.
      6               So I believe that perhaps Mr. Ramadan's discussions
      7    about the events that took place at the Milan facility had to
      8    do with an investigation being conducted by the Milan staff
      9    into his violation of Milan rules by writing graffiti on the
    10     walls and floors, and it was that follow-up investigation.
    11                But we didn't stop there. We then went to the
    12     sign-in logs and there are sign-in logs at the federal
    13     detention center and the correction institution at Milan.
    14     There are two different facilities, the detention facility
    15     and the institution. Oftentimes people who violate the
    16     provisions of the Milan detention facility are put in the
    17     special housing unit inside the institution, and so they are
    18     moved from one building to another. So we checked both of
    19     those records to find out any legal -- any -- they -- and
    20     they maintain logbooks for people who come and visit. They
    21     have the civilian logbook, and in the civilian logbook they
    22     have who the person is and what inmate they are going to see,
    23     and they have to write in the date, time, their name, the
    24     signature, and who they are going to see.
    25                What it comes to law enforcement --


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      1               MR. DENSEMO: Did an FBI agent come to see
      2    Mr. Ramadan or not?
      3               MR. WATERSTREET: No, the short answer --
      4               MR. DENSEMO: Okay. Thank you.
      5               MR. WATERSTREET: The short --
      6               MR. DENSEMO: Thank you.
      7               MR. WATERSTREET: I want to make sure the Court
      8    understands that we took this --
      9               MR. DENSEMO: You have complied sufficiently with
    10     our request, Mr. Waterstreet. If an FBI agent did not come
    11     and see Mr. Ramadan in violation of his constitutional
    12     rights, we appreciate you conducting the investigation.
    13                MR. WATERSTREET: And I just want the Court to be
    14     clear that we didn't brush this off. We made a very thorough
    15     investigation.
    16                THE COURT: Okay.
    17                MR. WATERSTREET: So Mr. Ramadan's allegations of
    18     an Agent Szegarski having come to visit him, claiming he was
    19     an FBI agent, and wanting to interview him have been
    20     established as being totally false.
    21                THE COURT: All right. And you aren't asking for
    22     any hearing or anything; you are going to accept the
    23     statement?
    24                MR. DENSEMO: No, Your Honor. Mr. Ramadan wants to
    25     indicate that he did not make a false statement about this.


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      1    That an agent he believed to be from the FBI attempted to see
      2    him, and he refused to talk to him. If the U.S. Attorney's
      3    Office said they checked the logbooks, and they've checked
      4    with the FBI, and there is no Agent Szegarski or someone by
      5    that name that attempted to see Mr. Ramadan on the date that
      6    we've talked about, then I guess we the have to accept the
      7    U.S. Attorney's Office's representation.
      8               MR. WATERSTREET: Well, Your Honor, there are three
      9    agents that have somewhat similar names.
    10                MR. DENSEMO: Did any of them attempt to see
    11     Mr. Ramadan?
    12                MR. WATERSTREET: None of those three -- all of
    13     three of those were interviewed, all three of them did not
    14     ever go to see Mr. Ramadan, and there is no record of any of
    15     those three there during any of that time period.
    16                THE COURT: Okay.
    17                MR. DENSEMO: Thank you.
    18                THE COURT: All right. Thank you. That will be
    19     it. Court is adjourned.
    20                THE LAW CLERK: All rise.
    21                (Proceedings concluded at 4:48 p.m.)
    22                                      _    _     _
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    24
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      1                                    _   _   _
                                         CERTIFICATION
      2
      3                   I, Robert L. Smith, Official Court Reporter of
      4    the United States District Court, Eastern District of
      5    Michigan, appointed pursuant to the provisions of Title 28,
      6    United States Code, Section 753, do hereby certify that the
      7    foregoing pages comprise a full, true and correct transcript
      8    taken in the matter of UNITED STATES OF AMERICA vs. YOUSEF M.
      9    RAMADAN, Case No. 17-20595, on Thursday, May 24, 2018.
    10
    11
    12                                 s/Robert L. Smith
                                      Robert L. Smith, RPR, CSR 5098
    13                                Federal Official Court Reporter
                                      United States District Court
    14                                Eastern District of Michigan
    15
           Date: 06/08/2018
    16     Detroit, Michigan
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